Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 1 of 82 PageID
                                   #: 4818




                   Thomas-Jensen
                    Affirmation
                     (redacted)


                       Exhibit # 85
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 2 of 82 PageID
                                   #: 4819
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 3 of 82 PageID
                                   #: 4820
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 4 of 82 PageID
                                   #: 4821
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 5 of 82 PageID
                                   #: 4822
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 6 of 82 PageID
                                   #: 4823
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 7 of 82 PageID
                                   #: 4824
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 8 of 82 PageID
                                   #: 4825



                             Oomen Exhibit A
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 9 of 82 PageID
                                   #: 4826
         Case 1:25-cv-00039-JJM-PAS              Document 68-85               Filed 02/07/25            Page 10 of 82 PageID
                                                        #: 4827
                                                                                                        5H - 84091101 - 1   Page 2

                                              EPA Funding Information
              FUNDS                             FORMER AWARD                                   THIS ACTION                      AMENDED TOTAL
EPA Amount This Action                              $ 155,720,000                                       $0                           $ 155,720,000
EPA In-Kind Amount                                       $ 400,000                                      $0                              $ 400,000
Unexpended Prior Year Balance                                    $0                                     $0                                     $0
Other Federal Funds                                              $0                                     $0                                     $0
Recipient Contribution                                           $0                                     $0                                     $0
State Contribution                                               $0                                     $0                                     $0
Local Contribution                                               $0                                     $0                                     $0
Other Contribution                                               $0                                     $0                                     $0
Allowable Project Cost                              $ 156,120,000                                       $0                           $ 156,120,000



Assistance Program (CFDA)                  Statutory Authority                                   Regulatory Authority
66.959 - Zero-Emissions Technology Grant   National Environmental Policy Act: Sec. 102(2)(I)     2 CFR 200, 2 CFR 1500 and 40 CFR 33
Program
                                           Clean Air Act: Sec. 134(a)(1)
                                           2023 Consolidated Appropriations Act (PL 117-328)
          Case 1:25-cv-00039-JJM-PAS                        Document 68-85   Filed 02/07/25   Page 11 of 82 PageID
                                                                   #: 4828
                                                                                              5H - 84091101 - 1   Page 3

Budget Summary Page
                                       Table A - Object Class Category                                 Total Approved Allowable
                                             (Non-Construction)                                           Budget Period Cost
 1. Personnel                                                                                                                          $0
 2. Fringe Benefits                                                                                                                    $0
 3. Travel                                                                                                                        $ 5,000
 4. Equipment                                                                                                                          $0
 5. Supplies                                                                                                                      $ 8,000
 6. Contractual                                                                                                            $ 138,540,800
 7. Construction                                                                                                                       $0
 8. Other                                                                                                                   $ 17,566,200
 9. Total Direct Charges                                                                                                   $ 156,120,000
 10. Indirect Costs: 0.00 % Base                                                                                                       $0
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                                  $ 156,120,000
 12. Total Approved Assistance Amount                                                                                      $ 156,120,000
 13. Program Income                                                                                                                   $0
 14. Total EPA Amount Awarded This Action                                                                                             $0
 15. Total EPA Amount Awarded To Date                                                                                      $ 156,120,000
      Case 1:25-cv-00039-JJM-PAS         Document 68-85       Filed 02/07/25    Page 12 of 82 PageID
                                                #: 4829
                                                                                5H - 84091101 - 1   Page 4

                                       Administrative Conditions
A. General Terms and Conditions

The Recipient agrees to comply with the current EPA General Terms and Conditions available at: https:
//www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2024-or-later . These terms
and conditions are in addition to the assurances and certifications made as a part of the award and the
terms, conditions, or restrictions cited throughout the award. The EPA repository for the General Terms
and Conditions by year can be found at: https://www.epa.gov/grants/grant-terms-and-conditions#general.

B. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

       Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and EPA Grants Specialist listed on
       the award
       MBE/WBE reports (EPA Form 5700-52A): Debora Bradford (Bradford.Debora@epa.gov), OMS-
       OGD-MBE_WBE@epa.gov, and the EPA Grants Specialist listed on the award
       All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
       Extensions of the Budget and Project Period, Amendment Requests, Requests for other Prior
       Approvals, updates to Recipient information (including email addresses, changes in contact
       information or changes in authorized representatives) and other notifications: EPA Grants
       Specialist listed on the award and EPA Project Officer listed on the award
       Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
       deliverables: EPA Project Officer listed on the award

C. Intergovernmental Review Period

In accordance with 40 CFR Part 29, EPA must allow for an intergovernmental review comment period
when a Recipient or Subrecipient intends to provide financial assistance to a project that involves
construction or land use planning. With the exception of projects that will be carried out in the State of
California, the Recipient must ensure that directly affected State, areawide, regional, and local
government entities have 60 calendar days to review the description of the project contained in the
application for funding for the project and provide comments to the EPA Project Officer. Applications for
funding for projects that will be carried out in the State of California must be submitted to the California
Single Point of Contact at https://cfda.opr.ca.gov for review as provided in California law.

EPA has allowed for an intergovernmental review comment period on behalf of the Recipient. This
comment period closed on Tuesday October 22, 2024. The Recipient need not take any additional action
with respect to intergovernmental review.

The Recipient agrees to comply with the provisions of 40 CFR Part 29, implementing the Demonstration
Cities, Metropolitan Development Act, the Intergovernmental Cooperation Act, and Executive Order
12372 as amended in 1983, to ensure that projects funded under federal programs are consistent with
local planning requirements.
      Case 1:25-cv-00039-JJM-PAS        Document 68-85      Filed 02/07/25    Page 13 of 82 PageID
                                               #: 4830
                                                                             5H - 84091101 - 1   Page 5

D. Pre-Award Costs

As provided in 2 CFR 200.458, Recipients are authorized to incur pre-award costs, which are costs that
would have been allowable if incurred after the date of the Federal award. For competitive grants, EPA
interprets the requirement in the regulation that pre-award costs be incurred “directly pursuant to the
negotiation and in anticipation of the Federal award” to limit allowable pre-award costs to those a
Recipient incurs after EPA has notified the Recipient that its application has been selected for award
consideration. The pre-award costs must be included in the workplan and budget to be eligible. As
provided in 2 CFR 1500.9, Recipients incur pre-award costs at their own risk. Please refer to Section I.C:
Pre-Award Costs of the Interim General Budget Development Guidance for Applicants and Recipients of
EPA Financial Assistance for additional information

E. New Recipient Training Requirement

The Recipient agrees to complete the EPA Grants Management Training for Applicants and
Recipients and the How to Develop a Budget training within 90 calendar days of the date of award of this
agreement. The Recipient must notify the Grant Specialist via email when the required training is
complete. For additional information on this training requirement, the Recipient should refer to RAIN-
2024-G01.
      Case 1:25-cv-00039-JJM-PAS         Document 68-85       Filed 02/07/25     Page 14 of 82 PageID
                                                #: 4831
                                                                                5H - 84091101 - 1   Page 6

                                       Programmatic Conditions
Solar For All (SFA) Programmatic Terms and Conditions (Updated 12/032024)

I. DEFINITIONS

Air Pollutant: “Air Pollutant” means any air pollutant that is listed pursuant to Section 108(a) of the Clean
Air Act (or any precursor to such an air pollutant). This includes particulate matter, ozone, carbon
monoxide, sulfur dioxide, nitrogen dioxide, and lead (see 40 CFR Part 50) and their precursors (e.g.,
volatile organic compounds).

Award Agreement: Award Agreement means the set of legally binding documents between EPA and the
Recipient under the federal award. Award Agreement is used interchangeably with Assistance
Agreement and Notice of Award.

Apprentice: Apprentice means an individual working on a project receiving Financial Assistance who is
participating in a Registered Apprenticeship program under the National Apprenticeship Act that meets
the requirements of 29 CFR Parts 29 and 30.

Contracts for Delivery of Financial Assistance: 2 CFR 200.1 defines a contract as “for the purpose of
Federal financial assistance, a legal instrument by which a recipient or subrecipient conducts
procurement transactions under a Federal award.” Contracts for Delivery of Financial Assistance involve
the provision of services through procurement contracts. In this program, Contracts for Delivery of
Financial Assistance are a form of Financial Assistance to projects which enable Low-Income and
Disadvantaged Communities to deploy or benefit from zero-emissions technologies.

Eligible Recipient: Eligible Recipients under the Solar for All program include: (1) states (including
territories as defined below), (2) municipalities, (3) Tribal governments, or (4) eligible nonprofit
Recipients, each of which is defined in accordance with the Clean Air Act as described below:

       State: Section 302(d) of the Clean Air Act defines a state as a state, the District of Columbia, the
       Commonwealth of Puerto Rico, the Virgin Islands, Guam, American Samoa, and the
       Commonwealth of the Northern Mariana Islands. Eligible Recipients that are states are identified
       on the Notice of Award as a “state” Recipient type.
       Municipality: Section 302(f) of the Clean Air Act provides that a municipality is a city, town,
       borough, county, parish, district, or other public body created by or pursuant to state law. This
       term may include councils of government (COGs) created by or pursuant to the laws of one or
       more states even if a COG is incorporated as a nonprofit organization. Eligible Recipients that are
       municipality are identified on the Notice of Award as either a “municipal”, “county”, or “township”
       Recipient type.
       Tribal Government: Section 302(r) of the Clean Air Act “Indian Tribe” as any “Indian Tribe, band,
       nation, or other organized group or community, including any Alaska Native village, which is
       Federally recognized as eligible for the special programs and services provided by the United
       States to Indians because of their status as Indians.” EPA includes Intertribal Consortia that meet
       the requirements of 40 CFR § 35.504 as an eligible Recipient under this category pursuant to the
       authority in 40 CFR § 35.501(b) to issue guidance extending Intertribal Consortia eligibility to
       environmental programs established subsequent to the effective date of 40 CFR Part 35, Subpart
       B. As provided in 40 CFR 35.504(a) all members of the Intertribal consortium must meet the
       definition of “Indian Tribe” in Section 302(r) of the Clean Air Act. Eligible Recipients that are Tribal
      Case 1:25-cv-00039-JJM-PAS          Document 68-85       Filed 02/07/25    Page 15 of 82 PageID
                                                 #: 4832
                                                                                 5H - 84091101 - 1   Page 7

       governments are identified on the Notice of Award as an Indian Tribe Recipient type. Eligible
       Recipients that are defined as Tribal governments because they are Intertribal Consortia may be
       identified as a not for profit on the Notice of Award. In these cases, the EPA-approved Solar for
       All workplan will identify the Recipient type as an Intertribal Consortia.
       Eligible Nonprofit Recipient: In accordance with Section 134(c)(1) of the Clean Air Act, a nonprofit
       organization must satisfy each of the below requirements to be deemed an eligible nonprofit
       Recipient under the Solar for All program:

               a. Meeting the definition of Nonprofit organization set forth in 2 CFR 200.1;

               b. Having an organizational mission consistent with being “designed to provide capital,
               leverage private capital, and provide other forms of financial assistance for the rapid
               deployment of low- and zero-emission products, technologies, and services;”

               c. Not receiving any “deposit” (as defined in Section 3(l) of the Federal Deposit Insurance
               Act) or “member account” or “account” (as defined in Section 101 of the Federal Credit
               Union Act);

               d. Being funded by public or charitable contributions; and

               e. Having the legal authority to invest in or finance projects.

Eligible Recipients that are eligible nonprofit Recipients are identified on the Notice of Award as a not for
profit Recipient type, excluding Recipients that are identified as Intertribal Consortia on the EPA-
approved Solar for All workplan.

Eligible Zero-Emissions Technology: Section 134(a)(1) of the Clean Air Act provides that grants be used
to provide financial assistance and technical assistance “to enable low-income and disadvantaged
communities to deploy or benefit from zero-emissions technologies.” Section 134(c)(4) of the Clean Air
Act provides that the term zero-emissions technology means any technology that produces zero
emissions of (a) any air pollutant that is listed in Section 108(a) (or any precursor to such an air pollutant)
and (b) any greenhouse gas. There are four eligible zero-emissions technology categories. The four
categories are:

       Residential Rooftop Solar: Behind-the-meter solar photovoltaic (PV) power-producing facilities,
       including rooftop, pole-mounted, and ground-mounted PV systems, that deliver all the power
       generated from the facilities to residential customers in existing and new single-family homes,
       manufactured homes, or multifamily buildings. Residential rooftop solar includes behind-the-
       meter solar facilities serving multifamily buildings classified as commercial buildings so long as
       the solar facility benefits residential customers either directly or indirectly such as through tenant
       benefit agreements. Residential rooftop solar includes properties that are both rented and owned.
       Residential-Serving Community Solar: A solar PV power-producing facility or solar energy
       purchasing program from a power-producing facility, with up to 5 MWac nameplate capacity, that
       delivers at least 50% of the power generated from the system—by delivering at least 50% of the
       benefits (e.g., financial savings, renewable energy credits) derived from the power generated by
       the community solar system—to residential customers within the same utility territory as the
       facility.
       Associated Storage: Infrastructure to store solar-generated power for the purposes of maximizing
      Case 1:25-cv-00039-JJM-PAS       Document 68-85      Filed 02/07/25    Page 16 of 82 PageID
                                              #: 4833
                                                                             5H - 84091101 - 1   Page 8

       residential rooftop and residential-serving community solar deployment that is deployed in
       conjunction with an eligible residential rooftop solar or residential-serving community solar
       project. Stand-alone energy storage infrastructure is not an eligible zero-emissions technology.
       Enabling Upgrades: Investments in energy and building infrastructure that are necessary to
       deploy or maximize the benefits of a residential rooftop and residential-serving community solar
       project. Enabling upgrades must satisfy all of the following criteria to be an eligible zero-
       emissions technology: (1) an investment in energy or building infrastructure and (2) necessary to
       deploy or maximize the benefits (i.e., financial savings or resiliency benefits) of a residential
       rooftop and residential-serving community solar project as defined above.

Environmental Information: Environmental Information is defined in EPA's Environmental Information
Quality Policy. Environmental Information includes “data and information that describe environmental
processes or conditions which support EPA's mission of protecting human health and the environment.
Examples include but are not limited to: direct measurements of environmental parameters or processes;
analytical testing results of environmental conditions (e.g., geophysical or hydrological conditions);
information on physical parameters or processes collected using environmental technologies;
calculations or analyses of environmental information; information provided by models; information
compiled or obtained from databases, software applications, decision support tools, websites, existing
literature, and other sources; development of environmental software, tools, models, methods and
applications; and design, construction, and operation or application of environmental technology.”

Environmental Information Operations: Environmental Information Operations is defined in EPA's
Environmental Information Quality Policy. Environmental Information Operations means “[a] collective
term for work performed to collect, produce, evaluate, or use environmental information and the design,
construction, operation or application of environmental technology.”

EPA Project Officer: EPA Project Officer means the project officer from the Office of the Greenhouse
Gas Reduction Fund that is assigned, along with the EPA Grants Specialist, to monitor the Recipient on
programmatic and technical aspects of the project and is typically authorized to make programmatic
approvals on behalf of the EPA. Where required, the Recipient must notify or request approval from the
EPA Project Officer through the EPA Project Officer's individual EPA email address as well SFA@epa.
gov such that the Office of the Greenhouse Gas Reduction Fund may delegate an alternative EPA
Project Officer in the case of any absence.

EPA Award Official: “EPA Award Official” means the award official from the Office of Grants and
Debarment that is authorized to execute the award agreement, as well as any subsequent amendments
to the award agreement, and to make any other final determinations required by law or regulation on
behalf of the EPA.

Financial Assistance: Section 134(a)(1) of the Clean Air Act directs that Recipients use funds to provide
financial assistance “to enable low-income and disadvantaged communities to deploy or benefit from
zero-emissions technologies.” Consistent with the definition of Federal financial assistance in 2 CFR
200.1, Financial Assistance means financial products, including debt (such as loans, partially forgivable
loans, forgivable loans, zero-interest and below-market interest loans, loans paired with interest rate
buydowns, secured and unsecured loans, lines of credit, subordinated debt, warehouse lending, and
other debt instruments), credit enhancements (such as loan guarantees, loan guarantee funds, loan loss
reserves, and other credit enhancement instruments that are not acquisitions of intangible property),
subgrants, subsidies, and rebates. Expenditures for Financial Assistance are in the form of Contracts for
      Case 1:25-cv-00039-JJM-PAS         Document 68-85       Filed 02/07/25    Page 17 of 82 PageID
                                                #: 4834
                                                                               5H - 84091101 - 1   Page 9

Delivery of Financial Assistance, Subawards, or Participant Support Costs, as defined in this Award
Agreement. For the avoidance of doubt, financial products that build the capacity of communities and
businesses to deploy solar including but not limited to predevelopment loans and grants or working
capital lines of credit to businesses or other forms of financing to build the solar project pipeline are
classified as Financial Assistance for the purposes of this program.

Freely Associated States: Freely Associated States means the Republic of the Marshall Islands (the
Marshalls), the Federated States of Micronesia (FSM), and the Republic of Palau (Palau).

Greenhouse Gas: Greenhouse Gas means carbon dioxide, hydrofluorocarbons, methane, nitrous oxide,
perfluorocarbons, and sulfur hexafluoride, as defined in Section 134(c)(2) of the Clean Air Act.
Greenhouse Gas Emissions mean emissions of Greenhouse Gases.

Low-Income and Disadvantaged Communities: Section 134(a)(1) of the Clean Air Act directs that
Recipients use funds for Financial Assistance and technical assistance “to enable low-income and
disadvantaged communities to deploy or benefit from zero-emissions technologies.” “Low-income and
disadvantaged communities” means CEJST-identified disadvantaged communities, EJScreen-identified
disadvantaged communities, geographically dispersed low-income households, and properties providing
affordable housing, as defined below.

       CEJST-Identified Disadvantaged Communities: All communities identified as disadvantaged
       through version 1.0 of the Climate and Economic Justice Screening Tool (CEJST), released on
       November 22, 2022, which includes census tracts that meet the thresholds for at least one of the
       tool's categories of burden and land within the boundaries of Federally Recognized Tribes.
       EJScreen-Identified Disadvantaged Communities: All communities within version 2.3 of EJScreen
       that fall within either (a) the limited supplemental set of census block groups that are at or above
       the 90th percentile for any of EJScreen's supplemental indexes when compared to the nation or
       state or (b) geographic areas within Tribal lands as included in EJScreen, which includes the
       following Tribal lands: Alaska Native Allotments, Alaska Native Villages, American Indian
       Reservations, American Indian Off-reservation Trust Lands, and Oklahoma Tribal Statistical
       Areas.
       Geographically Dispersed Low-Income Households: Low-income individuals and households
       living in Metropolitan Areas with incomes not more than 80% AMI or 200% FPL (whichever is
       higher), and low-income individuals and households living in Non-Metropolitan Areas with
       incomes not more than 80% AMI, 200% FPL, or 80% Statewide Non-Metropolitan Area AMI
       (whichever is highest). Federal Poverty Level (FPL) is defined using the latest publicly available
       figures from the U.S. Department of Health and Human Services. Area Median Income (AMI) is
       defined using the latest publicly available figures from the U.S. Department of Housing and Urban
       Development (HUD). Metropolitan Area and Non-Metropolitan Area are defined using the latest
       publicly available figures for county-level designations from the Office of Management and
       Budget. Statewide Non-Metropolitan Area AMI is defined using the latest publicly available
       figures from the U.S. Department of the Treasury's CDFI Fund, with an adjustment for household
       size using HUD's Family Size Adjustment factor.

       Properties Providing Affordable Housing: Properties providing affordable housing that fall within
       either of the following two categories: (a) multifamily housing with rents not exceeding 30% of
       80% AMI for at least half of residential units and with an active affordability covenant from one of
       the following housing assistance programs: (1) Low-Income Housing Tax Credit; (2) a housing
       assistance program administered by HUD, including Public Housing, Section 8 Project-Based
      Case 1:25-cv-00039-JJM-PAS        Document 68-85      Filed 02/07/25    Page 18 of 82 PageID
                                               #: 4835
                                                                             5H - 84091101 - 1   Page 10

       Rental Assistance, Section 202 Housing for the Elderly, Section 811 Housing for Disabled,
       Housing Trust Fund, Home Investment Partnership Program Affordable Rental and Homeowner
       Units, Permanent Supportive Housing, and other programs focused on ending homelessness that
       are funded under HUD's Continuum of Care Program; (3) a housing assistance program
       administered by USDA under Title V of the Housing Act of 1949, including under Sections 514
       and 515; (4) a housing assistance program administered by a tribally designated housing entity,
       as defined in Section 4(22) of the Native American Housing Assistance and Self-Determination
       Act of 1996 (25 USC § 4103(22)); or (5) a housing assistance program administered by the
       Department of Hawaiian Homelands as defined in Title VIII of the Native American Housing
       Assistance and Self-Determination Act of 1996 (24 CFR 1006.10) or (b) naturally-occurring
       (unsubsidized) affordable housing with rents not exceeding 30% of 80% AMI for at least half of
       residential units.
       Federally Recognized Tribal Entities: All Federally Recognized Tribal entities, which are
       considered disadvantaged regardless of whether a Federally Recognized Tribe has land,
       consistent with M-23-09 (memorandum dated as of January 27, 2023) and CEJST. A “Federally
       Recognized Tribal Entity” means (i) any individual member of a Federally Recognized Tribe; (ii)
       any for-profit business that has at least 51 percent of its equity ownership (or the equivalent in
       limited liability companies) by members of Federally Recognized Tribes; (iii) any non-profit entity
       with at least 51 percent of its Board of Directors (i.e., Governing Board) comprised of members of
       Federally Recognized Tribes; or (iv) any Federally Recognized Tribal government entity. Under
       this definition, any Federally Recognized Tribal Entity is included within the definition of Low-
       Income and Disadvantaged Communities, regardless of where that entity is located (i.e., the
       entity may be located in areas outside of the CEJST land area dataset, including but not limited to
       tribal service areas or counties).

Materially Impaired: For the definition and application of these terms under this Assistance Agreement (e.
g. the Clarifications to EPA General Terms and Conditions) and any associated legal documentation
related to the Assistance Agreement, note that EPA defines “Materially Impaired” in the context of
effective performance of the Assistance Agreement as 1) the issuance of a written determination and
finding from EPA that the Recipient has failed to achieve sufficient progress in accordance with the
Sufficient Progress clause under the Clarifications to EPA General Terms and Conditions Programmatic
Term and Condition and 2) if EPA in its sole discretion determines that a corrective action plan is an
appropriate means of remedying the lack of sufficient progress, the subsequent issuance of a separate
written determination and finding from EPA that the Recipient has not materially addressed its failure to
achieve sufficient progress after implementing a corrective action plan concurred on by the EPA Project
Officer and approved by the Award Official or Grants Management Officer pursuant to 2 CFR 200.208.

Participant Support Costs: 2 CFR 200.1 defines Participant Support Costs as “direct costs that support
participants (see definition for Participant in § 200.1) and their involvement in a Federal award, such as
stipends, subsistence allowances, travel allowances, registration fees, temporary dependent care, and
per diem paid directly to or on behalf of participants.” EPA regulations at 2 CFR 1500.1(a)(1) expand the
definition of Participant Support Costs to include “subsidies, rebates, and other payments to Program
Beneficiaries to encourage participation in statutorily authorized environmental stewardship programs,”
which includes the Greenhouse Gas Reduction Fund. In this program, Participant Support Costs are
primarily a form of Financial Assistance to projects which enable Low-Income and Disadvantaged
Communities to deploy or benefit from zero-emissions technologies.

Period of Closeout: Period of Closeout means the time interval between the beginning of the closeout
      Case 1:25-cv-00039-JJM-PAS        Document 68-85       Filed 02/07/25    Page 19 of 82 PageID
                                               #: 4836
                                                                              5H - 84091101 - 1   Page 11

period (the date that the award has been closed out, in accordance with 2 CFR 200.344) to the end of
the closeout period (the date that the Closeout Agreement has been terminated). The Period of Closeout
may also be referred to as the Closeout Period.

Period of Performance: 2 CFR 200.1 defines Period of Performance as “the time interval between the
start and end date of a Federal award, which may include one or more budget periods.” For the purposes
of this Award Agreement, the Period of Performance means the time interval between the start of the
Federal award (either the first date that the Recipient has incurred allowable pre-award costs or the date
on the Notice of Award, whichever is earlier) and the end of the Federal award (the date that the award
has been closed out, in accordance with 2 CFR 200.344). The Period of Performance may also be
referred to as the Performance Period.

Post-Closeout Program Income: Post-Closeout Program Income means Program Income retained at the
end of the Period of Performance, which is subject to the terms and conditions of the Closeout
Agreement, as well as Program Income earned by the Recipient during the Period of Closeout that is
directly generated by a supported activity or earned as a result of the Federal award, which is also
subject to the terms and conditions of the Closeout Agreement. Under the Closeout Agreement, the
Recipient is authorized to deduct the cost of generating Post-Closeout Program Income under 2 CFR
200.307(d) and 2 CFR 1500.8(b), provided the costs are reasonable and necessary for performance
under the federal award and the costs are not charged to the EPA award. Costs incidental to the
generation of Post-Closeout Program Income include origination, servicing, and management costs that
are not charged as direct costs to the Federal award or to Post Closeout Program Income. Costs of
generating Post-Closeout Program Income can be incurred in advance of receiving the gross income,
with the Recipient incurring the costs and later using gross income to reimburse itself for no more than
the actual costs incurred to generate the Post-Closeout Program Income, provided the Recipient can
account for the actual costs incurred.

Program Administration Activities: “Program administration activities” means activities that support
administration of the grant program, to the extent such activities meet the requirements for allowability
under 2 CFR Part 200, Subpart E as well as applicable provisions of 2 CFR Part 1500. Expenditures for
program administration activities could include those for program performance, financial and
administrative reporting, and compliance, including but not limited to activities to support, monitor,
oversee, and audit Subrecipients, Contractors, and Program Beneficiaries. Program administration costs
include procuring services and tools that support the Recipient in program design. Program
administration activities may also include establishing and convening advisory councils, as described in
Item 2 of EPA's Guidance on Selected Items of Cost for Recipients, and fundraising, as described in Item
4 of EPA's Guidance on Selected Items of Cost for Recipients.

Program Beneficiary: Program Beneficiary means an entity (either an individual or an organization) that
receives Financial Assistance or Project Deployment Technical Assistance from the Recipient as an end-
user. Expenditures for Financial Assistance or Project Deployment Technical Assistance to Program
Beneficiaries are in the form of Participant Support Costs, as defined in 2 CFR 1500.1. A Program
Beneficiary is distinct from a Subrecipient, as defined in 2 CFR 200.1.

Program Income: 2 CFR 200.1 defines Program Income as “gross income earned by the recipient or
subrecipient that is directly generated by a supported activity or earned as a result of the Federal award
during the period of performance except as provided in § 200.307(c)”. 2 CFR 200.1 notes that Program
Income “includes but is not limited to income from fees for services performed, the use or rental or real or
personal property acquired under Federal awards, the sale of commodities or items fabricated under a
      Case 1:25-cv-00039-JJM-PAS           Document 68-85       Filed 02/07/25     Page 20 of 82 PageID
                                                  #: 4837
                                                                                  5H - 84091101 - 1   Page 12

Federal award, license fees and royalties on patents and copyrights, and principal and interest on loans
made with Federal award funds.” For this program, Program Income also includes but is not limited to
income from origination fees, servicing fees, and asset management fees; revenue from asset sales;
release of grant funds previously used as Financial Assistance (such as through loan guarantees, loan
loss reserves, or similar transactions); interest and other earnings on disbursements of grant funds that
have not been transferred to third parties; and funds raised with costs charged against the grant award
(such as private debt, philanthropic contributions, and other funds raised). EPA-specific rules on Program
Income are provided at 2 CFR 1500.8, and rules on allowable fundraising costs are provided under 2
CFR 200.442 (with additional details in Item 4 of the EPA Guidance on Selected Items of Cost for
Recipients). Under this program, the Recipient is authorized to deduct the cost of generating program
income under 2 CFR 200.307(d) and 2 CFR 1500.8(b), provided the costs are reasonable and necessary
for performance under the federal award and the costs are not charged to the EPA award. Costs
incidental to the generation of program income include origination, servicing, and management costs that
are not charged as direct costs to the Federal award or to Program Income. Costs of generating program
income can be incurred in advance of receiving the gross income, with the Recipient incurring the costs
and later using gross income to reimburse itself for no more than the actual costs incurred to generate
the program income, provided the Recipient can account for the actual costs incurred. Program Income
requirements flow down to Subrecipients but not to Contractors or Program Beneficiaries.

Project-Deployment Technical Assistance: Section 134(a)(1) of the Clean Air Act provides that funds for
this competition be used for “technical assistance.” Technical assistance is defined as “Project-
Deployment Technical Assistance” and is services and tools provided by Recipients to enable Low-
Income and Disadvantaged Communities to overcome non-financial barriers to rooftop residential solar
or residential-serving community solar deployment or build the capacity of communities and businesses
to deploy solar. Examples of these services and tools include workforce training, customer outreach and
education, project deployment assistance such as siting, permitting, and interconnection support,
coordination with utilities for the purposes of project deployment, distributed solar deployment training for
developers, and other services and tools that enable Low-Income and Disadvantaged Communities to
deploy or benefit from rooftop residential solar, and residential-serving community solar.

Subaward: 2 CFR 200.1 defines a Subaward as “an award provided by a pass-through entity to a
subrecipient for the subrecipient to contribute to the goals and objectives of the project by carrying out
part of a Federal award received by the pass-through entity. It does not include payments to a contractor,
beneficiary, or participant”. A Subgrant refers to a Subaward in the form of a grant.

Subrecipient: Consistent with 2 CFR 200.1, Subrecipient means an entity that receives a Subaward from
a pass-through entity to carry out part of a Federal award but does not include an entity that is a Program
Beneficiary of such an award. A Subrecipient is distinct from a Program Beneficiary, which is referenced
in 2 CFR 1500.1.

Waste, Fraud, or Abuse: For the definition and application of these terms under this Assistance
Agreement (e.g. under the Financial Risk Management Requirements and Clarifications to EPA General
Terms and Conditions) and any associated legal documentation related to the Assistance Agreement,
refer to their use in the Reporting Waste, Fraud, and Abuse clause in the EPA General Terms and
Conditions effective October 1, 2024 and 2 CFR 200.113: “credible evidence of the commission of a
violation of Federal criminal law involving fraud, conflict of interest, bribery, or gratuity violations found in
Title 18 of the United States Code or a violation of the civil False Claims Act 31 U.S.C. 3729-3733.”
      Case 1:25-cv-00039-JJM-PAS        Document 68-85      Filed 02/07/25    Page 21 of 82 PageID
                                               #: 4838
                                                                             5H - 84091101 - 1   Page 13

II. NATIONAL PROGRAMMATIC TERMS AND CONDITIONS

A. Performance Reporting

In accordance with 2 CFR 200.329 and 2 CFR 200.337, the Recipient agrees to the following two
requirements of performance reporting: (1) progress reports, (2) transaction and-project level report.
These performance reporting requirements “flow-down” as needed to enable the Recipient to comply
with the requirements described in this term and condition. The Recipient must ensure that these reports
cover its own grant-related activities, and where applicable to a certain performance report or element of
a performance report, the grant-related activities of its Subrecipients, Contractors, and/or Program
Beneficiaries. The Recipient agrees that EPA may amend the Award Agreement to reflect information
collection instruments authorized by GGRF Accomplishment Reporting (EPA ICR Number 2783.01, OMB
Control Number 2090-NEW), once such instruments are authorized; to the extent that the information is
not available for transactions that were closed prior to the amendment, the Recipient will not be out of
compliance with the reporting requirements.

The Recipient acknowledges that knowingly and willfully making a material false statement may be
subject to criminal prosecution under 18 U.S.C. 1001 and/or other civil and administrative sanctions.

EPA intends to make performance reporting information available to the public, either in whole or in part,
through disclosing copies of the reports as submitted or using the content of the reports to prepare EPA
reporting documents. Pursuant to 2 CFR 200.338, the Recipient agrees to redact personally identifiable
information (PII) and mark confidential business information (CBI) prior to submission to EPA.
Information claimed as CBI will be disclosed only to the extent, and by means of the procedures, set forth
in 40 CFR Part 2, Subpart B. As provided at 40 CFR 2.203(b), if no claim of confidential treatment
accompanies the information when it is received by EPA, it may be made available to the public by EPA
without further notice to the Recipient. Recipient agrees that submitted information that does not include
PII or CBI may be shared for program evaluation purposes, including with third parties.

The EPA Project Officer may extend the due date for performance reporting requirements to the extent
authorized by 2 CFR 200.329 and 2 CFR 200.344. On a case-by-case basis, the EPA Project Officer
may waive or modify performance reporting requirements to the extent authorized by 2 CFR 200.329 and
2 CFR 200.344. Notwithstanding any other provision of this Assistance Agreement, if Recipient's inability
to submit the required performance reporting is due to issues with EPA systems, the Recipient shall be
granted a reasonable extension to submit the reports after the technical issue has been corrected.

The following additional term and condition applicable to performance reporting applies if the Recipient is
an Eligible Nonprofit Recipient as defined in the Eligible Recipient definition:

The Recipient agrees to have its chief executive officer (or equivalent) and chief reporting officer (or
equivalent) review, sign, and submit performance reporting electronically to the EPA Project Officer. To
the extent it is known, or should have been known, by the chief executive officer (or equivalent) and chief
reporting officer (or equivalent) that the reporting is not materially compliant with the terms and
conditions, or demonstrates material noncompliance with the terms and conditions, the chief executive
officer (or equivalent) and chief reporting officer (or equivalent) must note such noncompliance to the
EPA Project Officer alongside the submission. Should the chief executive officer (or equivalent) and chief
reporting officer (or equivalent) signing the submission knowingly and willfully make any material false
statement, they may be subject to criminal prosecution under 18 U.S.C. 1001 and/or other civil and
administrative sanctions.
      Case 1:25-cv-00039-JJM-PAS        Document 68-85      Filed 02/07/25    Page 22 of 82 PageID
                                               #: 4839
                                                                             5H - 84091101 - 1   Page 14

1. Progress Reports

Semi-Annual Report

The Recipient agrees to submit semi-annual reports covering six months of the calendar year in
accordance with information collection instruments approved through GGRF Accomplishment Reporting
(EPA ICR Number 2783.01, OMB Control Number 2090-NEW). A single semi-annual report must be
submitted to cover grant-related activities of the Recipient as well as Subrecipients as well as the grant-
related activities of its Contractors and/or Program Beneficiaries where applicable to a certain element of
the semi-annual report.

The Recipient agrees to submit semi-annual reports electronically to the EPA Project Officer within 30
calendar days after the semi-annual reporting period ends. The Recipient may submit a request to the
Project Officer for a permanent extension to 60 calendar days. A request may be made once, and it must
include (i) an explanation of the Recipient's unique circumstance as to why they need the extension; (ii)
the length of the extension (i.e., up to but not more than 60 calendar days after the semi-annual reporting
period ends); and (iii) the duration of the extension (i.e., up to the remainder of the Period of
Performance).

The semi-annual reporting periods are as follows: July 1 to December 31; January 1 to June 30. The first
semi-annual reporting period ends on December 31 and covers all activities beginning on the first day of
the Period of Performance.

Final Report

The Recipient agrees to submit a final report containing two documents. First, the Recipient must submit
a report containing detailed narratives describing program performance for the entire Period of
Performance, representing an overall assessment of the Recipient's implementation of its EPA-approved
Solar for All Workplan, supported with qualitative discussions and quantitative metrics. The Recipient
must include the following broad, non-exhaustive elements in its narrative report:

       Progress towards objectives on key performance metrics over the entire Period of Performance,
       Summary of key activities completed in the entire Period of Performance, including case studies
       across different types of Financial Assistance and Project-Deployment Technical Assistance
       undertaken to enable Low-Income and Disadvantaged Communities to deploy or benefit from
       zero-emissions technologies,
       Geographic coverage of Financial Assistance and Project-Deployment Technical Assistance
       deployed in the entire Period of Performance,
       Descriptions and examples of actions the program took over the entire Period of Performance to
       meaningfully involve the communities the program serves in program design and operations,
       Plans for key activities (including anonymized current transaction pipeline) to be completed as
       well as outputs and outcomes to be achieved under the Closeout Agreement.

Second, the Recipient must submit its program strategy for the Closeout Period to detail its use of Post-
Closeout Program Income over the Closeout Period.

The two documents for the final report must be submitted to cover the grant-related activities of the
      Case 1:25-cv-00039-JJM-PAS         Document 68-85       Filed 02/07/25    Page 23 of 82 PageID
                                                #: 4840
                                                                               5H - 84091101 - 1   Page 15

Recipient and its Subrecipients as well as the grant-related activities of its Contractors and/or Program
Beneficiaries where applicable to a certain element of the final report.

The two documents for the final report must be submitted ready to be published on the EPA website for
public consumption and must not include any material that the Recipient considers to be Confidential
Business Information (CBI) or Personal Identifiable Information (PII). All reports will undergo an EPA
review process to verify that there is no PII or claims of CBI. Should EPA identify PII or claims of CBI in
reports, the EPA Project Officer will require that the Recipient re-submit the report without the PII or
claims of CBI so that it can be published without redaction.

The Recipient agrees to submit the two documents for the final report electronically to the EPA Project
Officer no later than 120 calendar days after the end date of the Period of Performance.

2. Transaction and Project-Level Report

The Recipient agrees to submit semi-annual transaction and project-level reporting in accordance with
information collection instruments approved through GGRF Accomplishment Reporting (EPA ICR
Number 2783.01, OMB Control Number 2090-NEW). The data submission must cover the grant-related
activities of the Recipient and Subrecipients as well as the grant-related activities of its Contractors
and/or Program Beneficiaries where applicable to a certain element of the data submission.

The Recipient agrees to submit the transaction and project-level report electronically to the EPA Project
Officer within 30 calendar days after the semi-annual reporting period ends. The Recipient may submit a
request to the EPA Project Officer for a permanent extension to 60 calendar days. A request may be
made once, and it must include (i) an explanation of the Recipient's unique circumstance as to why they
need the extension; (ii) the length of the extension (i.e., up to but not more than 60 calendar days after
the semi-annual reporting period ends); and (iii) the duration of the extension (i.e., up to the remainder of
the Period of Performance).

The semi-annual reporting periods for data submission are as follows: October 1 to March 31; April 1 to
September 30. The data submissions must cover transactions originated in the preceding two quarters.
For the semi-annual reporting period that ends March 31, the Recipient must provide information on
transactions originated from July 1 to December 31 rather than from October 1 to March 31. For the
semi-annual reporting period that ends September 30, the Recipient must provide information on
transactions originated from January 1 to June 30 rather than from April 1 to September 30. The first
transaction and project-level report is due 30 calendar days after March 31, 2025, and must cover all
transactions originated from the beginning of the Performance Period through December 31, 2024.

B. Cybersecurity Condition

The following terms and conditions applicable to cybersecurity apply if the Recipient is a State as defined
in the Eligible Recipient definition:

(a) The Recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the Recipient's network or information system
and EPA networks used by the Recipient to transfer data under this agreement, are secure.
      Case 1:25-cv-00039-JJM-PAS        Document 68-85       Filed 02/07/25    Page 24 of 82 PageID
                                               #: 4841
                                                                              5H - 84091101 - 1   Page 16

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the Recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the Recipient agrees to contact the EPA Project
Officer and work with the designated Regional/Headquarters Information Security Officer to ensure that
the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the Recipient into
systems operated and used by EPA's regulatory programs for the submission of reporting and/or
compliance data.

(2) The Recipient agrees that any Subawards it makes under this agreement will require the Subrecipient
to comply with the requirements in (b)(1) if the Subrecipient's network or information system is connected
to EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA's Central Data Exchange. The Recipient will be in compliance with this
condition: by including this requirement in Subaward agreements; and during Subrecipient monitoring
deemed necessary by the Recipient under 2 CFR 200.332(e), by inquiring whether the Subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the Recipient to contact the EPA
Project Officer on behalf of a Subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the Subrecipient and EPA.

The following terms and conditions applicable to cybersecurity apply if the Recipient is a Tribal
Government as defined in the Eligible Recipient definition so long as the Recipient is not identified as a
not for profit on the Notice of Award:

(a) The Recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable Tribal law and policy cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the Recipient's network or information system
and EPA networks used by the Recipient to transfer data under this agreement, are secure. For
purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency
IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the Recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the Recipient agrees to contact the EPA Project
Officer no later than 90 calendar days after the date of this award and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security
requirements, including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the Recipient into systems operated and used by EPA's
regulatory programs for the submission of reporting and/or compliance data.

(2) The Recipient agrees that any Subawards it makes under this agreement will require the Subrecipient
to comply with the requirements in (b)(1) if the Subrecipient's network or information system is connected
to EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA's Central Data Exchange. The Recipient will be in compliance with this
condition: by including this requirement in Subaward agreements; and during Subrecipient monitoring
      Case 1:25-cv-00039-JJM-PAS         Document 68-85      Filed 02/07/25     Page 25 of 82 PageID
                                                #: 4842
                                                                              5H - 84091101 - 1   Page 17

deemed necessary by the Recipient under 2 CFR 200.332(e), by inquiring whether the Subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the Recipient to contact the EPA
Project Officer on behalf of a Subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the Subrecipient and EPA.

The following terms and conditions applicable to cybersecurity apply if the Recipient is a Municipality or
Eligible Nonprofit Recipient as defined in the Eligible Recipient definition and if the Recipient is both a
Tribal government as defined in the Eligible Recipient definition and denoted as a not for profit in the
Notice of Award:

(a) The Recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State or Tribal law cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the Recipient's network or information system
and EPA networks used by the Recipient to transfer data under this agreement, are secure. For
purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency
IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the Recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the Recipient agrees to contact the EPA Project
Officer no later than 90 calendar days after the date of this award and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security
requirements, including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the Recipient into systems operated and used by EPA's
regulatory programs for the submission of reporting and/or compliance data.

(2) The Recipient agrees that any Subawards it makes under this agreement will require the Subrecipient
to comply with the requirements in (b)(1) if the Subrecipient's network or information system is connected
to EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA's Central Data Exchange. The Recipient will be in compliance with this
condition: by including this requirement in Subaward agreements; and during Subrecipient monitoring
deemed necessary by the Recipient under 2 CFR 200.332(e), by inquiring whether the Subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the Recipient to contact the EPA
Project Officer on behalf of a Subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the Subrecipient and EPA.

C. Competency Policy

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements, the Recipient agrees, by entering into this agreement, that it has demonstrated competency
prior to award, or alternatively, where a pre-award demonstration of competency is not practicable, the
Recipient agrees to demonstrate competency prior to carrying out any activities under the award
involving the generation or use of environmental data. The Recipient shall maintain competency for the
duration of the project period of this agreement and this will be documented during the annual reporting
process. A copy of the Policy is available online at https://www.epa.gov/sites/production/files/2015-
03/documents/competency-policy-aaia-new.pdf or a copy may also be requested by contacting the EPA
      Case 1:25-cv-00039-JJM-PAS        Document 68-85       Filed 02/07/25    Page 26 of 82 PageID
                                               #: 4843
                                                                              5H - 84091101 - 1   Page 18

Project Officer for this award.

D. Public or Media Events

For public or media events that are planned more than 15 calendar days in advance, the Recipient
agrees to notify the EPA Project Officer of public or media events it has organized publicizing the
accomplishment of significant activities related to execution of the EPA-approved Solar for All workplan
and provide the opportunity for attendance and participation by federal representatives with at least 15
calendar days' notice.

E. In-Kind Assistance

This action awards federal funds in the amount specified on the Notice of Award of which $400,000 is
anticipated to be through in-kind assistance. The in-kind assistance will include but is not limited to
convenings and peer networking, market data collection, research and analysis, tool building, and
education and outreach, to assist Recipients in achieving the objectives of the Solar for All program.

F. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.

G. Leveraging and Fundraising

1. Leveraging

The Recipient agrees to make commercially reasonable efforts to provide the proposed leveraged
funding that is described in its EPA-approved Solar for All workplan. If the proposed leveraging does not
substantially materialize during the Period of Performance, and the Recipient does not provide a
satisfactory explanation, the Agency may consider this factor in evaluating future grant applications from
the Recipient. In addition, if the proposed leveraging does not substantially materialize during the Period
of Performance and the Recipient does not provide a satisfactory explanation, then EPA may reconsider
the legitimacy of the award; if EPA determines that the Recipient knowingly or recklessly provided
inaccurate information regarding the leveraged funding described in the EPA-approved Solar for All
workplan, EPA may take action as authorized by 2 CFR Part 200 and/or 2 CFR Part 180 as applicable.

2. Fundraising

2 CFR 200.442 provides coverage on allowable fundraising costs, with additional details contained in
Item 4 of the EPA Guidance on Selected Items of Cost for Recipients. Fundraising costs described in the
EPA-approved Solar for All Workplan are an allowable cost and may include costs that are reasonable
and necessary for raising additional capital to provide Financial Assistance to eligible zero emissions
technologies or Project-deployment Technical Assistance to enable Low-Income and Disadvantaged
Communities to deploy and benefit from eligible zero emission technologies.

Allowable fundraising costs must meet the following two criteria, in addition to meeting the requirements
for allowability under 2 CFR Part 200, Subpart E as well as applicable provisions of 2 CFR Part 1500: (1)
must be in support of the Greenhouse Gas Reduction Fund's third program objective to mobilize
financing and private capital and (2) must be reasonable and necessary to raise capital from private
      Case 1:25-cv-00039-JJM-PAS        Document 68-85      Filed 02/07/25    Page 27 of 82 PageID
                                               #: 4844
                                                                             5H - 84091101 - 1   Page 19

investors. Funds a Recipient raises for its own use with costs borne by an EPA Financial Assistance
Agreement are considered Program Income, which must be treated in accordance with the Program
Income Programmatic Term and Condition. When fundraising costs are paid for by both the award as
well as other sources, a portion of the funds raised equal to the share of fundraising costs charged to the
award will be treated as Program Income.

H. Quality Assurance

Authority: Quality Assurance applies to all assistance agreements involving Environmental Information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

The Recipient shall ensure that Subawards involving Environmental Information issued under this
agreement include appropriate quality requirements for the work. The Recipient shall ensure
Subrecipients develop and implement Quality Assurance (QA) planning documents in accordance with
this term and condition; and/or ensure Subrecipients implement all applicable approved QA planning
documents. EPA will not approve any QA planning documents developed by a Subrecipient; the
Recipient is responsible for reviewing and approving its Subrecipient QA planning document(s), if
required based on the Subrecipient's Environmental Information Operations.

1. Quality Management Plan (QMP)

Prior to beginning Environmental Information Operations necessary to comply with the requirements
specified in the Performance Reporting Programmatic Term and Condition, the Recipient must: (i)
develop a QMP, (ii) prepare the QMP in accordance with the current version of EPA's Quality
Management Plan (QMP) Standard and submit the document for EPA review, and (iii) obtain EPA
Quality Assurance Manager or designee (hereafter referred to as QAM) approval. Alternatively, the
Recipient may (i) submit a previously EPA-approved and current QMP and (ii) the EPA Quality
Assurance Manager or designee (hereafter referred to as QAM) will notify the Recipient and EPA Project
Officer (PO) in writing if the QMP is acceptable for this agreement.

The Recipient must submit the QMP within 90 calendar days after the date this amendment to the Award
Agreement becomes effective, unless the Recipient requests an extension(s) that is granted by the QAM.

The Recipient must review their approved QMP at least annually. These documented reviews shall be
made available to the sponsoring EPA organization if requested. When necessary, the Recipient shall
revise its QMP to incorporate minor changes and notify the EPA PO and QAM of the changes. If
significant changes have been made to the Quality Program that affect the performance of environmental
information operations, it may be necessary to re-submit the entire QMP for re-approval. In general, a
copy of any QMP revision(s) made during the year should be submitted to the EPA PO and QAM in
writing when such changes occur. Conditions requiring the revision and resubmittal of an approved QMP
can be found in section 6 of EPA's Quality Management Plan (QMP) Standard.

2. Quality Assurance Project Plan (QAPP)

Prior to beginning Environmental Information Operations necessary to comply with the requirements
specified in the Performance Reporting Programmatic Term and Condition, the Recipient must: (i)
develop a QAPP, (ii) prepare the QAPP in accordance with the current version of EPA's Quality
Assurance Project Plan (QAPP) Standard, (iii) submit the document for EPA review, and (iv) obtain EPA
Quality Assurance Manager or designee (hereafter referred to as QAM) approval. Alternatively, the
      Case 1:25-cv-00039-JJM-PAS        Document 68-85       Filed 02/07/25    Page 28 of 82 PageID
                                               #: 4845
                                                                              5H - 84091101 - 1   Page 20

Recipient may (i) submit a previously EPA-approved QAPP proposed to ensure the collected, produced,
evaluated, or used environmental information is of known and documented quality for the intended use(s)
and (ii) the EPA Quality Assurance Manager or designee (hereafter referred to as QAM) will notify the
Recipient and EPA Project Officer (PO) in writing if the previously EPA-approved QAPP is acceptable for
this agreement.

The Recipient must submit the QAPP within 90 calendar days after the date this amendment to the
Award Agreement becomes effective, unless the Recipient requests an extension(s) that is granted by
the QAM.

The Recipient must notify the PO and QAM when substantive changes are needed to the QAPP. EPA
may require the QAPP be updated and re-submitted for approval.

The Recipient must review their approved QAPP at least annually. The results of the QAPP review and
any revisions must be submitted to the PO and the QAM at least annually and may also be submitted
when changes occur.

For Reference:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP)
Standard; contain quality specifications for EPA and non-EPA organizations and definitions applicable to
these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans.

• EPA's Quality Program website has a list of QA managers, and Non-EPA Organizations Quality
Specifications.

I. Real Property

In accordance with 2 CFR 200.311, title to Real Property acquired or improved under this agreement will
vest upon acquisition by the Recipient, including but not limited to title to Real Property acquired through
exercise of a remedy for default of a Financial Assistance arrangement. This Real Property must be used
for the originally authorized purpose as long as needed for that purpose, during which time the Recipient
must not dispose of or encumber its title or other interests. The Real Property Programmatic Term and
Condition flows down to Subrecipients but not to Program Beneficiaries or Contractors that receive
Financial Assistance, which may acquire title to Real Property after receiving Financial Assistance.

The Recipient must obtain prior approval from the EPA Award Official for the acquisition of Real
Property. Note that the Recipient may meet this requirement by specifying the types of acquisitions of
Real Property it plans to carry out in its EPA-approved Solar for All Workplan.

Disposition

If the Recipient disposes of the property and uses the proceeds for the originally authorized purpose (i.e.,
under the terms and conditions of the Award Agreement), then the proceeds will be treated as Program
Income and there are no further disposition requirements.

Otherwise, when Real Property is no longer needed for the originally authorized purpose, the Recipient
      Case 1:25-cv-00039-JJM-PAS         Document 68-85      Filed 02/07/25     Page 29 of 82 PageID
                                                #: 4846
                                                                              5H - 84091101 - 1   Page 21

must obtain disposition instructions from EPA. The instructions will provide for one of the following
alternatives:

1. Retain title after compensating EPA. The amount paid to EPA will be computed by applying EPA's
percentage of participation in the cost of the original purchase (and costs of any improvements) to the
fair market value of the property. However, in those situations where Recipient is disposing of Real
Property acquired or improved with a Federal award and acquiring replacement Real Property under the
same Federal award, the net proceeds from the disposition may be used as an offset to the cost of the
replacement property.

2. Sell the property and compensate EPA. The amount due to EPA will be calculated by applying EPA's
percentage of participation in the cost of the original purchase (and cost of any improvements) to the
proceeds of the sale after deduction of any actual and reasonable selling and fixing-up expenses. If the
Federal award has not been closed out, the net proceeds from sale may be offset against the original
cost of the property. When the Recipient is directed to sell property, sales procedures must be followed
that provide for competition to the extent practicable and result in the highest possible return.

3. Transfer title to EPA or to a third party designated/approved by EPA. The Recipient is entitled to be
paid an amount calculated by applying the Recipient's percentage of participation in the purchase of the
Real Property (and cost of any improvements) to the current fair market value of the property.

Recordation

As authorized by 2 CFR 200.316, EPA requires that Recipients who use EPA funding to purchase and
improve Real Property through an EPA funded construction project record a lien or similar notice in the
Real Property records for the jurisdiction in which the Real Property is located, which indicates that the
Real Property has been acquired and improved with federal funding and that use and disposition
conditions apply to the Real Property.

J. Program Income

In accordance with 2 CFR 200.307(c) and 2 CFR 1500.8(b), the Recipient must retain Program Income
earned during the Period of Performance. Program Income will be added to funds committed to the
program by EPA and used for the purposes and under the conditions of the Assistance Agreement and
beyond the Period of Performance based on a Closeout Agreement.

In any period of time before such a Closeout Agreement is effective but after the Recipient has fully used
the award for allowable activities, the Recipient is authorized to use Program Income under the terms
and conditions of the Assistance Agreement, as opposed to the terms and conditions outlined under the
Closeout Agreement Programmatic Term and Condition. The terms and conditions outlined under the
Closeout Agreement Programmatic Term and Condition will supplant the terms and conditions of the
Assistance Agreement once the Closeout Agreement becomes effective.

In accordance with 2 CFR 1500.8(d) as supplemented by the Period of Performance Programmatic Term
and Condition, under ordinary circumstances, the Recipient may only use Program Income once the
initial award funds are fully used for allowable activities or the Period of Performance ends for a different
reason. However, Program Income may be used by the Recipient in advance of the initial award funds
being fully used where reasonable and necessary to execute the activities in the EPA-approved Solar for
All workplan.
      Case 1:25-cv-00039-JJM-PAS        Document 68-85      Filed 02/07/25    Page 30 of 82 PageID
                                               #: 4847
                                                                             5H - 84091101 - 1   Page 22

K. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the Recipient or
Subrecipient's activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the Recipient received financial support from the EPA under an
Assistance Agreement. More information is available at: https://www.epa.gov/stylebook/using-epa-seal-
and-logo#policy.



III. ADDITIONAL PROGRAMMATIC TERMS AND CONDITIONS

A. Solar for All Workplan

1. EPA-approved Solar for All Workplan

The Recipient agrees to implement this grant in accordance with its EPA-approved Solar for All
Workplan. The Recipient agrees that the public laws, regulations, applicable notices, Executive Orders,
and these award agreement terms and conditions supersede the EPA-approved Solar for All Workplan in
the event there are conflicting provisions in the EPA-approved Solar for All Workplan.

2. Specific condition on revisions to EPA-approved Solar for All workplan in the one-year planning period

The Recipient's EPA-approved Solar for All Workplan may include work to refine the program during the
one-year planning period. Pursuant to 2 CFR 200.206(b) and (c), 2 CFR 200.208(b)(1), and 2 CFR
200.208(c)(2) and (6), EPA has determined that a specific condition is necessary to ensure that the
further revisions to the Recipient's EPA-approved Solar for All Workplan allow the Recipient to effectively
carry out the significant scale, complexity, and novelty of the Solar for All program. Based on this
determination, if the Recipient makes revisions to its EPA-approved Solar for All Workplan during the
one-year planning period, the Recipient must first receive approval from the EPA Project Officer on the
revised Solar for All Workplan prior to requesting drawdown on any revised work. EPA will not make
payments for unapproved work and any costs incurred for unapproved work by the Recipient are at its
own risk.

The Recipient may continue to request payments and EPA will make payments for costs covered by the
EPA-approved Solar for All Workplan while the EPA Project Officer, as appropriate, reviews any revised
Solar for All Workplan.

Action Required to remove the specific condition. If the Recipient makes revisions to its workplan
during the planning period, the Recipient must submit the revised workplan to EPA no later than 365
calendar days after the date of award for the first amendment of the agreement. Upon completion and
EPA approval of any revisions to the EPA-approved Solar for All Workplan, timeline, budget narrative,
budget detail, and SF-424A (if applicable), EPA will provide email confirmation that the grant recipient
has met the Planning Period Term and Condition. The email confirmation from EPA will serve as
evidence that this specific condition has been satisfied, with the specific condition removed without
further action from the Recipient required upon receipt of the email in accordance with 2 CFR 200.208
(e).
      Case 1:25-cv-00039-JJM-PAS          Document 68-85        Filed 02/07/25    Page 31 of 82 PageID
                                                 #: 4848
                                                                                 5H - 84091101 - 1   Page 23

Method for Reconsideration. If the Recipient believes that this specific condition is not warranted or
requires modification, the Recipient must file a written objection within 21 calendar days of the EPA
award or amendment mailing date and must not draw down funds until the objection is resolved. The
Recipient must submit the written objection via email to the Award Official, Grant Specialist and Project
Officer identified in the Notice of Award.

B. Allowable and Unallowable Activities

The Recipient agrees to only use the award to support the following allowable activities: Financial
Assistance and Project-Deployment Technical Assistance that enable Low-Income and Disadvantaged
Communities to deploy and benefit from eligible zero emissions technologies as well as Participant
Support Costs for trainees in workforce development programs. All costs charged to the award to support
these activities must meet the requirements for allowability under 2 CFR Part 200, Subpart E as well as
applicable provisions of 2 CFR Part 1500.

The Recipient agrees to not use the award for the following unallowable activities: (a) activities that
support deployment of projects that do not meet the definition of eligible zero-emissions technologies; (b)
Costs of acquiring “intangible property,” as defined in 2 CFR 200.1; and (c) activities that support
deployment of projects outside the boundaries of the ten EPA regions or in the Freely Associated States.
The allowability of legal costs incurred in connection with the award shall be governed by applicable
provisions of 2 CFR Part 200, Subpart E, including but not limited to 2 CFR 200.403, 2 CFR 200.435, 2
CFR 200.441 and 2 CFR 200.459.

C. Foreign Entity of Concern

As part of carrying out this award, the Recipient agrees to ensure that entities the Recipient contracts
with, the Recipient makes Subawards to, or that receive funds as Program Beneficiaries at any tier of
funding under this grant agreement are not—

       (A) an entity owned by, controlled by, or subject to the direction of a government of a covered
       nation under 10 U.S.C. 4872(d);

       (B) an entity headquartered in a covered nation under 10 U.S.C. 4872(d); or

       (C) a subsidiary of an entity described in (A) or (B).

As of the date these terms and conditions become effective, covered nations under 10 U.S.C. § 4872(d)
are the Democratic People's Republic of North Korea; the People's Republic of China; the Russian
Federation; and the Islamic Republic of Iran.

D. Low-Income and Disadvantaged Communities Expenditure Requirement

The Recipient agrees to ensure that 100% of the award is used for the purposes of enabling Low-Income
and Disadvantaged Communities to deploy and benefit from eligible zero emissions technologies. This
requirement applies to the entire award provided to the Recipient and “flows down” to each Subrecipient.

E. Revolving Loan Fund Characterization

EPA considers the portion of the award used to provide Financial Assistance, which may generate
      Case 1:25-cv-00039-JJM-PAS         Document 68-85       Filed 02/07/25     Page 32 of 82 PageID
                                                #: 4849
                                                                               5H - 84091101 - 1   Page 24

Program Income, as a capitalization of a revolving loan fund for the purposes of 2 CFR 1500.8(d). Such
Financial Assistance may include Subawards, Contracts for Delivery of Financial Assistance, or
Participant Support Costs. In accordance with section 2.0 Applicability and Effective Date and the
definition of Subaward in section 3.0 of the EPA Subaward Policy, the EPA Subaward Policy does not
apply to the Recipient's Subawards from the capitalization of a revolving loan fund.

F. Subawards to For-Profit Entities

The Recipient is authorized to provide Subawards to for-profit entities as included in the EPA-approved
Solar for All Workplan. The Recipient agrees to require that for-profit entities that receive such
Subawards:

1. Can only recover their eligible and allowable direct and indirect costs from EPA-funded activities,
including recovering the portion of their overhead costs attributable to the activities by applying either a
Federally approved indirect cost rate, as authorized by 2 CFR 200.414(f), or the de-minimis rate if the
Subrecipient does not have a Federally approved rate;

2. Comply with the Management Fees General Term and Condition, which is incorporated by reference
into the Establishing and Managing Subawards General Term and Condition;

3. Account for and use Program Income under the rules for Program Income pursuant to 2 CFR 1500.8
(b) and the terms and conditions of the award agreement;
4. Be subject to the same requirements as non-profit Subrecipients under 2 CFR Part 200 Subparts A
through E, as federal awarding agencies are authorized to apply 2 CFR Part 200 Subparts A through E
to for-profit entities in accordance with 2 CFR 200.101(a)(2); and

5. Select an independent auditor consistent with the criteria set forth in 2 CFR 200.509 and obtain an
independent audit substantially similar in scope and quality to that of the Single Audit (see 2 CFR
200.500 et. seq.); the Subrecipient must submit the audit to the Recipient within 9 months of the end of
the Recipient's fiscal year or 30 calendar days after receiving the report from an independent auditor,
whichever is earlier; as provided in 2 CFR 200.337(a) the Recipient must provide EPA, the EPA Office of
Inspector General, and the Comptroller General with access to the Subrecipient's independent auditor
reports.

G. Subawards as Part of Revolving Loan Funds

The following requirements apply when the Recipient provides Subawards under 2 CFR 200.1 as part of
a revolving loan fund. These requirements apply to the Recipient and Subrecipient in lieu of those
specified in the Establishing and Managing Subawards General Term and Condition.

1. For all Subawards as part of a revolving loan fund, the Recipient agrees to provide written
documentation including the following information, unless already described in the EPA-approved Solar
for All workplan. The Recipient is precluded from drawing down funds for such uses until the EPA Project
Officer provides written approval of the submitted documentation. The documentation must: (a) describe
the activities that will be supported by the Subawards; (b) specify the range of funding to be provided
through the Subawards; (c) identify which types of entities (i.e., governmental, non-profit, for-profit) will
receive the Subawards; and (d) specify how the Subrecipients are eligible Subrecipients in accordance
with EPA's Subaward Policy. Additionally, if a Recipient plans to Subaward to a for-profit entity the
Recipient's response to (d) must specifically describe how the for-profit Subrecipient will only receive
      Case 1:25-cv-00039-JJM-PAS        Document 68-85       Filed 02/07/25    Page 33 of 82 PageID
                                               #: 4850
                                                                              5H - 84091101 - 1   Page 25

reimbursement for their actual direct or approved indirect costs such that the Subrecipient does not
“profit” from the transaction.

2. The Recipient must establish and follow a system that ensures all Financial Assistance agreements
are in writing and contain all of the elements required by 2 CFR 200.332(b), including the indirect cost
provision of 2 CFR 200.332(b)(4) for Subawards. EPA has developed an optional template for Subaward
agreements available in Appendix D of the EPA Subaward Policy, which may also be used for such
Subaward agreements.

3. The Subrecipient must comply with the internal control requirements specified at 2 CFR 200.303 and
is subject to the 2 CFR Part 200, Subpart F, Audit Requirements. The pass-through entity must include a
condition in all Financial Assistance agreements that requires Subrecipients to comply with these
requirements.

4. Prior to making the Subaward, the Recipient must ensure that the Subrecipient has a “unique entity
identifier.” This identifier is required for registering in the System for Award Management (SAM) and by 2
CFR Part 25 and 2 CFR 200.332(b)(1). The unique entity identifier (UEI) is generated when an entity
registers in SAM. Information on registering in SAM and obtaining a UEI is available in the General
Condition of the pass-through entity's agreement with EPA entitled “System for Award Management and
Universal Identifier Requirements.”

H. Participant Support Costs

The Recipient may provide Financial Assistance and Project-Deployment Technical Assistance to enable
Low-Income and Disadvantaged Communities to deploy and benefit from eligible zero emissions
technologies in the form of Participant Support Costs.

The Recipient agrees to the following eligibility, restrictions, timelines, and other programmatic
requirements on Participant Support Costs, in addition to other requirements included in the terms and
conditions of this award agreement:

       A. The Recipient and Program Beneficiaries are responsible for taxes, if any, on payments made
       to or on behalf of entities participating in this program that are allowable as Participant Support
       Costs under 2 CFR 200.1, 2 CFR 200.456, or 2 CFR 1500.1. EPA encourages the Recipient and
       Program Beneficiaries to consult their tax advisers, the U.S. Internal Revenue Service, or state
       and local tax authorities regarding the taxability of subsidies, rebates and other Participant
       Support Cost payments. However, EPA does not provide advice on tax issues relating to these
       payments.

       B. Participant Support Cost payments are lower tiered covered Nonprocurement transactions for
       the purposes of 2 CFR 180.300 and the Suspension and Debarment General Term and
       Condition. The Recipient, therefore, may not make Participant Support Cost payments to entities
       excluded from participation in Federal Nonprocurement programs under 2 CFR Part 180 and
       must ensure that Subrecipients adhere to this requirement as well. The Recipient is responsible
       for checking that program participants are not excluded from participation through either (1)
       checking the System for Award Management (SAM) or (2) obtaining eligibility certifications from
       the program participants.

For all Financial Assistance provided in the form of Participant Support Costs specifically, the Recipient
      Case 1:25-cv-00039-JJM-PAS         Document 68-85     Filed 02/07/25    Page 34 of 82 PageID
                                                #: 4851
                                                                             5H - 84091101 - 1   Page 26

agrees to provide written documentation including the following information, unless already described in
the EPA-approved Solar for All workplan. The Recipient is precluded from drawing down funds for such
uses until the EPA Project Officer provides written approval of the submitted documentation. This
documentation must: (a) describe the activities that will be supported by the Participant Support Costs;
(b) specify the range of funding to be provided through the Participant Support Costs; (c) identify which
types of entities will have title to equipment (if any) purchased with a rebate or subsidy; (d) establish
source documentation requirements (e.g., invoices) for accounting records; and (e) describe purchasing
controls to ensure that the amount of the Participant Support Cost is determined in a commercially
reasonable manner as required by 2 CFR 200.404.

I. Contracts for Delivery of Financial Assistance

2 CFR 200 Procurement Standards

The Recipient may provide Financial Assistance to enable Low-Income and Disadvantaged Communities
to deploy and benefit from eligible zero emissions technologies in the form of procurement contracts
(Contracts for Financial Assistance). The Recipient agrees to provide Contracts for Financial Assistance
in compliance with the conflict of interest and competition requirements described in the 2 CFR Part 200
Procurement Standards. This includes but is not limited to the requirements at 2 CFR 200.318 to:

       Have and use documented procurement procedures to govern Contracts for Financial
       Assistance;
       Maintain oversight to ensure that contractors perform in accordance with the terms, conditions,
       and specifications of their contracts;
       Maintain written standards of conduct covering conflicts of interest and governing the actions of
       employees engaged in the selection, award, and administration of contracts as well as maintain
       written standards of conduct covering organizational conflicts of interest;
       Prioritize entering into inter-entity agreements where appropriate for procurement or use of
       common or shared goods and services as the Recipient seeks to mobilize financing and private
       capital;
       Award contracts only to responsible contractors possessing the ability to perform successfully
       under the terms and conditions of the proposed procurement; and
       Maintain records sufficient to detail the history of procurement.

Additional guidance is available at Best Practice Guide for Procuring Services, Supplies, and
Equipment Under EPA Assistance Agreements.

J. Labor and Equitable Workforce Development Requirements

1. Davis-Bacon and Related Acts (DBRA)

A. Program Applicability

As provided in Section 314 of the Clean Air Act (42 USC § 7614) (DBRA), Davis-Bacon Act (42 USC §§
3141-3144) labor standards apply to projects assisted by grants and cooperative agreements made
under the Greenhouse Gas Reduction Fund. Accordingly, all laborers and mechanics employed by
contractors or subcontractors on projects assisted under this Award Agreement shall be paid wages at
      Case 1:25-cv-00039-JJM-PAS         Document 68-85       Filed 02/07/25    Page 35 of 82 PageID
                                                #: 4852
                                                                               5H - 84091101 - 1   Page 27

rates not less than those prevailing for the same type of work on similar construction in the locality as
determined by the Secretary of Labor in accordance with 40 USC Subtitle II, Part A, Chapter 31,
Subchapter IV (Wage Rate Requirements). Under the Greenhouse Gas Reduction Fund, the relevant
construction type and prevailing wage classifications would be “Building” or “Residential.” The Secretary
of Labor's wage determinations are available at https://sam.gov/content/wage-determinations.

Under the Greenhouse Gas Reduction Fund, Davis-Bacon and Related Act requirements apply to forms
of Financial Assistance that directly fund and are directly linked to specific construction projects that were
not completed prior to the execution of the final binding documentation governing the use of the Financial
Assistance. The Recipient must ensure that any construction work financed in whole or in part with such
Financial Assistance, as defined in these Terms and Conditions, provided under this agreement complies
with Davis-Bacon and Related Act requirements and the requirements of these Terms and Conditions.

Note, however, that under the Greenhouse Gas Reduction Fund, Davis-Bacon and Related Act
requirements do not apply to any form of Financial Assistance which meets any of the following criteria:

       Financial Assistance which exclusively funds pre-construction (e.g. permitting or design work) or
       post-construction activities (e.g. subsidies for subscriptions to already constructed solar assets).
       Financial Assistance which serves end-users who are individual homeowners or tenants of
       single-family homes or multifamily buildings when these individual end-users ultimately select the
       contractor(s) and execute the contract(s) for the construction work, as opposed to the Recipient,
       Subrecipient, or a contractor hired by the Recipient or Subrecipient.
       Financial Assistance which serves end-users who meet the definition of Federally Recognized
       Tribal Entities, as defined under this Assistance Agreement, when these Federally Recognized
       Tribal Entities ultimately select the contractor(s) and execute the contract(s) for the construction
       work, as opposed to the Recipient, Subrecipient, or a contractor hired by the Recipient or
       Subrecipient.
       Financial Assistance which serves any end-user when such Financial Assistance is less than
       $250,000 for a project and the end-user ultimately selects the contractor(s) and executes the
       contract(s) for the construction work, as opposed to the Recipient, Subrecipient, or a contractor
       hired by the Recipient or Subrecipient.

If the Recipient encounters a situation that presents uncertainties regarding DBRA applicability under this
Assistance Agreement, the Recipient must discuss the situation with the EPA Project Officer before
authorizing work on the project.

In the event that a periodic project site visit, audit, or routine communication with a Subrecipient,
Program Beneficiary, contractor, or subcontractor determines any instances of non-compliance or
potential non-compliance with the requirements of this Term and Condition or the Davis-Bacon and
Related Act, the Recipient agrees to promptly inform the EPA Project Officer for possible referral to the
U.S. Department of Labor for guidance or enforcement action.

Consistent with the definitions at 29 CFR § 5.2, the term “construction” refers to all types of work done on
a particular building or work at the site of the work by laborers and mechanics employed be a contractor
or subcontractor. Additional guidance is available in the definition of the term “building or work” in 29
CFR § 5.2.

B. Davis-Bacon and Related Acts
      Case 1:25-cv-00039-JJM-PAS        Document 68-85      Filed 02/07/25    Page 36 of 82 PageID
                                               #: 4853
                                                                             5H - 84091101 - 1   Page 28

Davis-Bacon and Related Acts (DBRA) is a collection of labor standards provisions administered by the
Department of Labor, that are applicable to grants involving construction. These labor standards include
the:

       Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics on
       construction contracts of $2,000 or more;
       Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an
       employee into giving up any part of the compensation to which he or she is entitled; and
       Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for
       over 40 hours of work per week, under contracts in excess of $100,000.

C. Recipient Responsibilities When Entering Into and Managing Contracts:

       a. Solicitation and Contract Requirements:

               i. Include the Correct Wage Determinations in Bid Solicitations and Contracts: Recipients
               are responsible for complying with the procedures provided in 29 CFR 1.6(b) when
               soliciting bids and awarding contracts.

               ii. Include DBRA Requirements in All Contracts: Include “By accepting this contract, the
               contractor acknowledges and agrees to the terms provided in the DBRA Requirements for
               Contractors and Subcontractors Under EPA Grants.”

       b. After Award of Contract:

               i. Approve and Submit Requests for Additional Wages Rates: Work with contractors to
               request additional wage rates if required for contracts under this grant, as provided in 29
               CFR 5.5(a)(1)(iii).

               ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
               contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

D. Recipient Responsibilities When Establishing and Managing Additional Subawards:

       a. Include DBRA Requirements in All Subawards (including Loans): Include the following text on
       all Subawards under this grant: “By accepting this award, the EPA Subrecipient acknowledges
       and agrees to the terms and conditions provided in the DBRA Requirements for EPA
       Subrecipients.”

       b. Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible for
       oversight of Subrecipients and must ensure Subrecipients comply with the requirements in 29
       CFR 5.6.

       c. Provide Oversight to Ensure Compliance with Participant Support Cost Requirements:
       Recipients are responsible for oversight of Subrecipients and must ensure that Subrecipients
       comply with the requirements in subsection E, below.

E. Recipient/Subrecipient Responsibilities When Managing Participant Support Costs to Program
      Case 1:25-cv-00039-JJM-PAS         Document 68-85      Filed 02/07/25    Page 37 of 82 PageID
                                                #: 4854
                                                                              5H - 84091101 - 1   Page 29

Beneficiaries

When DBRA is applicable, Financial Assistance provided in the form of a Participant Support Cost to a
Program Beneficiary shall include the following text:

       “[Name of Recipient/Subrecipient providing the Financial Assistance] retains the following
       responsibilities for all contracts and subcontracts assisted by this [form of Financial Assistance]:

       a. Solicitation and Contract Requirements:

                i. Include the Correct Wage Determinations in Bid Solicitations and Contracts: “[Name of
                Recipient/Subrecipient providing the Financial Assistance] is responsible for ensuring that
                any contracts or subcontracts made by Program Beneficiaries and/or assisted by
                Participant Support Costs comply with the procedures provided in 29 CFR 1.6(b) when
                soliciting bids and awarding contracts.

                ii. Include DBRA Requirements in All Contracts: Include the following text “By accepting
                this contract, the contractor acknowledges and agrees to the terms provided in the DBRA
                Requirements for Contractors and Subcontractors Under EPA Grants.”

       b. After Award of Contract:

                i. Approve and Submit Requests for Additional Wages Rates: Work with contractors to
                request additional wage rates if required for contracts under this grant, as provided in 29
                CFR 5.5(a)(1)(iii).

                ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
                contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

The contract clauses set forth in this term and condition, along with the correct wage determinations, will
be considered to be a part of every prime contract covered by Davis-Bacon and Related Acts (see 29
CFR 5.1), and will be effective by operation of law, whether or not they are included or incorporated by
reference into such contract, unless the Department of Labor grants a variance, tolerance, or exemption.
Where the clauses and applicable wage determinations are effective by operation of law under this
paragraph, the prime contractor must be compensated for any resulting increase in wages in accordance
with applicable law.

F. DBRA Compliance Monitoring Requirement

Reasonable and necessary costs for DBRA compliance are allowable and allocable grant costs. Such
costs include, but are not limited to, the procurement of a payroll reporting and compliance management
software product to meet the documentation and reporting requirements under 29 CFR 5.5(a)(3)(ii) for all
construction projects assisted under this award.

1. Compliance with Federal Statutes and Regulations

The Recipient agrees to comply with other applicable federal statutes and regulations related to labor
and equitable workforce development as well as to enforce compliance with Subrecipients, contractors,
and other partners (e.g., by including such provisions in contractual agreements). This includes but is not
      Case 1:25-cv-00039-JJM-PAS          Document 68-85       Filed 02/07/25    Page 38 of 82 PageID
                                                 #: 4855
                                                                                5H - 84091101 - 1   Page 30

limited to applicable health and safety regulations as administered by the Occupational Safety and
Health Administration.

2. Free and Fair Choice to Join a Union

In accordance with Executive Order 14082 (Implementation of the Energy and Infrastructure Provisions
of the Inflation Reduction Act of 2022), the Recipient agrees to design and implement a policy to increase
high-quality job opportunities for American workers and improving equitable access to these jobs,
including in traditional energy communities, through the timely implementation of requirements for
prevailing wages and registered apprenticeships and by focusing on high labor standards and the free
and fair chance to join a union.

In accordance with the EPA General Terms and Conditions, grant funds may not be used to support or
oppose union organizing, whether directly or as an offset for other funds.

K. Build America, Buy America Act

The Build America, Buy America Act – Public Law 117-58, requires the EPA to ensure that for any
activity related to the construction, alteration, maintenance, or repair of infrastructure, “none of the funds
made available for a Federal Financial Assistance program for infrastructure, including each deficient
program, may be obligated for a project unless all of the iron, steel, manufactured products, and
construction materials used in the project are produced in the United States.” (P.L. 117-58, Secs 70911 –
70917).

The Recipient is bound to the EPA Build America, Buy America General Term and Condition,
which outlines the Build America, Buy America (BABA) requirements that all Recipients of EPA Financial
Assistance awards must comply with.

Under the Greenhouse Gas Reduction Fund, BABA requirements apply to forms of Financial Assistance
that directly fund and are directly linked to specific infrastructure projects that were not completed prior to
the date the Recipient's award funds were obligated by the EPA.

EPA interprets the definition of infrastructure consistent with 2 CFR 184 and M-24-02 (memorandum
dated as of October 23, 2023), including the “public function” test, when determining whether projects
qualify as public infrastructure, based on the Civil Rights Act definition of public accommodation.

The following types of Greenhouse Gas Reduction projects are deemed infrastructure for the purposes of
BABA applicability:

       1. The public infrastructure portion of any property (e.g., retail in a mixed-use multi-family
       property) where the principal purpose of the Financial Assistance is to directly benefit such
       portion of the property;

       2. Privately-owned commercial buildings when they meet the “public function” test;

       3. Residential-serving community solar projects, which EPA deems “structures, facilities, and
       equipment that generate, transport, and distribute energy” per 2 CFR 184.4(c).

The following types of Greenhouse Gas Reduction projects are not deemed infrastructure for the
      Case 1:25-cv-00039-JJM-PAS        Document 68-85      Filed 02/07/25    Page 39 of 82 PageID
                                               #: 4856
                                                                             5H - 84091101 - 1   Page 31

purposes of BABA applicability:

       1. Single family homes;

       2. Privately-owned, non-mixed-use, multi-family housing properties;

       3. Privately-owned residential portions of mixed-use properties;

       4. Any privately-owned, behind-the-meter energy generation and storage project that does not
       otherwise meet the definition of infrastructure.

The inclusion of the following types of funding, support, guarantee, or sponsorship in the funding stack of
any Greenhouse Gas Reduction fund project does not trigger BABA, in and of itself or in combination:

       1. Low-Income Housing Tax Credit (LIHTC);

       2. Fannie Mae and Freddie Mac Backed Multifamily Mortgages;

       3. Federal Housing Administration Insured Multifamily Mortgages;

       4. HUD Section 8 Funding;

       5. Other Federal, State, Tribal, or Local Housing Assistance Funding Sources: in general,
       subsidies issued by federal, state, Tribal, or local housing assistance funding sources that do not
       confer equity or ownership stakes for the governmental funding source do not trigger BABA
       applicability.

BABA applicability is assessed at the time of provision of Financial Assistance based on the terms,
limitations, and requirements of the Financial Assistance. Applicability does not change retroactively
based on a change of use (e.g., if a ground floor apartment is re-zoned for a restaurant). Recipients may
not temporarily modify or mischaracterize usage to intentionally avoid BABA compliance.

If the Recipient encounters a situation that presents uncertainties regarding Build America, Buy America
applicability under this Assistance Agreement, the Recipient must discuss the situation with the EPA
Project Officer before authorizing work on the project.

L. Consumer Protection Requirements

The Recipient agrees to carry out the following consumer protection requirements to the extent that the
Recipient directly interacts, transacts, or contracts with consumers in the provision of Financial
Assistance:

       1. Comply with the Equal Credit Opportunity Act, the Truth in Lending Act, the Consumer
       Financial Protection Act, and other federal consumer protection laws that apply;

       2. Provide written disclosures to consumers containing information in clear and understandable
       language regarding purchasing, leasing, or financing as well as the costs associated with a
       consumer's transaction;
      Case 1:25-cv-00039-JJM-PAS         Document 68-85       Filed 02/07/25    Page 40 of 82 PageID
                                                #: 4857
                                                                               5H - 84091101 - 1   Page 32

       3. With regard to solar products or services, provide written disclosures on the impact of the solar
       project on the consumer's ability to sell or refinance their home and recording of any liens on the
       home; consumer rights; contact information for the solar project provider; and complaint
       procedures for the consumer if they have a problem with the solar project or sales process;

       4. Require that all in-person and telephone marketing that directly interacts, transacts, or
       contracts with consumers be conducted in a language in which the consumer subject to the
       marketing is able to understand and communicate; and

       5. Maintain a process for receiving, monitoring, and resolving consumer complaints, including
       ensuring that complaints are appropriately addressed and referring complaints, when necessary,
       to the appropriate government regulatory agency.

The Recipient agrees to monitor and oversee Subrecipients and contractors with respect to these
consumer financial protection requirements to the extent that they directly interact, transact, or contract
with consumers, in accordance with 2 CFR 200.332(e) and 2 CFR 200.318.

M. Financial Risk Management Requirements

1. Cash Management Requirements

The Recipient must deposit and maintain advance payments of Federal funds exclusively in insured
accounts, in accordance with 2 CFR 200.305(b)(10). As provided in 2 CFR 200.1, an advance payment
is “a payment that a Federal agency or pass-through entity makes by any appropriate payment
mechanism and payment method before the recipient or subrecipient disburses the funds for program
purposes.” A Recipient drawing down funds from ASAP prior to disbursement for actual and allowable
project costs constitutes an advance payment. Interest income earned on the advance payment from
EPA to the Recipient prior to disbursement is subject to the requirements on interest earned within 2
CFR 200.305(b)(11) and 2 CFR 200.305(b)(12); consequently, such interest earned in excess of $500
must be remitted annually to the Department of Health and Human Services Payment Management
System.

The Recipient is authorized to maintain Program Income in two types of accounts:

       1. Insured accounts, including in amounts in excess of the federal insurance limit of $250,000.
       2. Accounts where such income is used to purchase (i) U.S. Savings Bonds, U.S. Treasury
       Marketable Securities, and U.S. Agency Marketable Securities, provided the duration of such
       instruments is no longer than 90 calendar days (if purchased directly) and that such instruments
       are held-to-maturity (if purchased directly), or (ii) short-term money market funds consisting solely
       of the aforementioned investment instruments and offering daily investor redemptions. Note, the
       underlying instruments included in a short-term money market fund consisting solely of U.S.
       Savings Bonds, U.S. Treasury Marketable Securities, and U.S. Agency Marketable Securities
       and offering daily investor redemptions need not be of a particular duration or held-to-maturity.

Interest income and other returns earned on funds that have already been disbursed is considered
additional Program Income consistent with 2 CFR 1500.8(d) and is not subject to the requirements on
interest earned within 2 CFR 200.305(b)(11) and 2 CFR 200.305(b)(12).

2. Climate-Related Financial Risks
      Case 1:25-cv-00039-JJM-PAS        Document 68-85       Filed 02/07/25    Page 41 of 82 PageID
                                               #: 4858
                                                                              5H - 84091101 - 1   Page 33

The Recipient agrees to comply with Executive Order 11988 (Floodplain Management). This may include
accounting for and evaluating practicable alternatives or other mitigation related to ameliorating flood
risks and protecting flood plains as part of its financial risk management policies and procedures.

The Recipient agrees to comply with Executive Order 14030 (Climate-Related Financial Risk). This may
include accounting for climate-related financial risks—including physical and transition risks—in its
financial risk management policies and procedures.

3. Additional Requirements

The Recipient agrees to not subordinate its interests in any asset that the Recipient acquires with EPA
funds or Program Income in a manner that waives EPA's claim for compensation under any applicable
statutory claims, 2 CFR Part 200, or common law. Once a Recipient uses grant funds for program
purposes and incurs a financial obligation, as defined under 2 CFR 200.1, EPA will only seek claims on
those funds in the event that they were used for costs that do not comply with the terms and conditions of
the Award Agreement or if there is adequate evidence of Waste, Fraud, or Abuse, prompting adverse
action by EPA per 2 CFR 200.339. This does not prohibit the use of subordinated debt as a form of
Financial Assistance.

The Recipient agrees to apply EPA's Final Financial Assistance Conflict of Interest Policy to all
Subawards and Participant Support Costs made to entities receiving Financial Assistance or Project-
Deployment Technical Assistance. Notwithstanding the statement in section 2.0 of the Conflict of Interest
(COI) Policy that it does not apply to “Subawards in the form of loans, loan guarantees, interest subsidies
and principal forgiveness, purchases of insurance or similar transactions entered into with borrowers by
Recipients of revolving loan fund capitalization grants or other EPA Financial Assistance agreements
where Agency funds may be used for lending activities,” EPA is applying the COI Policy to these
transactions through this term and condition.

The Recipient agrees to provide Subrecipients that receive Subawards to provide Financial Assistance or
Project-Deployment Technical Assistance with training and technical assistance on program-related
matters, including on prudent financial risk management practices, in accordance with 2 CFR 200.332(f).

N. Historic Preservation

National Historic Preservation Act (NHPA)

Section 106 of the NHPA requires all federal agencies to consider the effects of their undertakings,
including the act of awarding a grant, on historic properties, and to provide the Advisory Council on
Historic Preservation (ACHP) a reasonable opportunity to comment on such undertakings. The Recipient
must assist the EPA Project Officer in complying with NHPA if any activities funded under this grant
impact a historic property. Historic properties can include: (a) land or buildings listed in or eligible for
listing on the National Register of Historic Places; (b) archaeologically sensitive areas or in an area
where traditional cultural properties are located; and (c) properties that are associated with significant
historic events, are associated with significant people, embody distinctive characteristics, and contain
important precontact information.

The Recipient should work with their Project Officer to ensure that Subrecipients are available to work
with EPA on any required consultation process with the State Historic Preservation Office (SHPO) or
Tribal Historic Preservation Office (THPO) prior to commencing the project to ensure compliance with
      Case 1:25-cv-00039-JJM-PAS         Document 68-85      Filed 02/07/25    Page 42 of 82 PageID
                                                #: 4859
                                                                              5H - 84091101 - 1   Page 34

Section 106 of the NHPA.

If NHPA compliance is required, necessary Section 106 consultation activities, such as historic or
architectural surveys, structural engineering analysis of buildings, public meetings, and archival
photographs, can be considered allowable and allocable grant costs.

Archeological and Historic Preservation Act (AHPA)

This law applies if archeologically significant artifacts or similar items are discovered after an EPA-funded
construction project has begun, and compliance may be coordinated with the NHPA, discussed above.
The AHPA requires federal agencies to identify relics, specimens, and other forms of scientific,
prehistorical, historical, or archaeologic data that may be lost during the construction of federally-
sponsored projects to ensure that these resources are not inadvertently transferred, sold, demolished or
substantially altered, or allowed to deteriorate significantly. The Recipient must ensure that Subrecipients
performing construction projects are aware of this requirement, and the Recipient must notify EPA if the
AHPA is triggered.

O. Uniform Relocation Assistance and Real Property Acquisition Policies Act

The Uniform Relocation Assistance and Real Property Acquisition Policies Act (URA) applies to
acquisitions of property and displacements of individuals and businesses that result from federally
assisted programs. The URA and Federal Highway Administration's implementing regulations at 49 CFR
Part 24 require the Recipient to follow certain procedures for acquiring property for purposes under the
federal award, such as notice, negotiation, and appraisal requirements. The statute and regulations also
contain requirements for carrying out relocations of displaced persons and businesses, such as
reimbursement requirements for moving expenses and standards for replacement housing. The
Recipient must comply with, and ensure Subrecipients comply with, the URA and 49 CFR Part 34 if an
EPA-funded acquisition of property results in permanent displacement of individuals or businesses. Note
that although the URA does not apply to temporary displacement of residents, the cost for temporary
relocation of residents may be an allowable cost under the “necessary and reasonable for the
performance of the Federal award” provision of 2 CFR 200.403(a). The Recipient must obtain prior
approval of the EPA Project Officer and EPA Award Official for the allowability of costs for temporary
relocation of residents.

P. Remedies for Non-Compliance

The Recipient agrees to comply with the terms and conditions of the Award Agreement. Should the
Recipient fail to adhere to the terms and conditions of the Award Agreement, the EPA may impose
additional conditions as set forth in 2 CFR 200.208. If the EPA determines that noncompliance cannot be
remedied by imposing additional conditions, the EPA may seek remedies under 2 CFR 200.339 up to
and including termination and the recovery of unallowable costs as provided in 2 CFR 200.343. As
specified in 2 CFR 200.343, which will remain in effect throughout the term of this award, costs during
suspension or after termination are allowable if (a) the costs result from financial obligations which were
properly incurred by the non-Federal entity before the effective date of suspension or termination, are not
in anticipation of it, and (b) the costs would be allowable if the Federal award was not suspended or
expired normally at the end of the period of performance in which the termination takes effect.

The Recipient agrees to comply with the statutory requirements of Section 134 of the Clean Air Act.
Should the Recipient violate the statutory requirements of Section 134 by failing to use grant funds in
      Case 1:25-cv-00039-JJM-PAS          Document 68-85       Filed 02/07/25    Page 43 of 82 PageID
                                                 #: 4860
                                                                                5H - 84091101 - 1   Page 35

accordance with Section 134 or by failing to ensure that the activities of Subrecipients are in accordance
with Section 134, EPA may seek remedies under Section 113, which may subject the Recipient to civil
administrative penalties through an EPA administrative enforcement action, civil penalties and/or
injunctive relief through a civil judicial enforcement action by the U.S. Department of Justice (DOJ), or
criminal penalties through a DOJ criminal judicial enforcement action.

Notwithstanding any other provision of this Award Agreement, EPA will not determine that Recipient has
failed to comply with the terms and conditions of the Award Agreement, without providing a reasonable
opportunity to remedy under 2 CFR 200.208, for good faith efforts to comply with the Performance
Reporting National Programmatic Term and Condition, Additional Programmatic Terms and Conditions
regarding Build America, Buy America or Labor and Equitable Workforce Development Requirements,
requirements for Subrecipient oversight, or to obligate or expend funds for allowable activities.

Q. Clarifications to EPA General Terms and Conditions

EPA agrees to make the following clarifications to the EPA General Terms and Conditions. These
clarifications expand on, rather than replace or modify, the EPA General Terms and Conditions. The
Recipient agrees to comply with these clarifications.

1. Automated Standard Application Payments (ASAP) and Proper Payment Draw Down

The following clarification to the ASAP and Proper Payment Draw Downs General Term and Condition
applies if the Recipient is a Municipality, Tribal Government, or Eligible Nonprofit Recipient as defined in
the Eligible Recipient definition. States, as defined in the Eligible Recipient definition, are subject to the
Proper Payment Drawdown for State Recipients General Term and Condition:

The Recipient is subject to the Automated Standard Application Payments (ASAP) and Proper Payment
Draw Down General Term and Condition.

The Recipient is required to notify the EPA Project Officer of draws from ASAP in excess of the following
amounts: $10,000,000 within a 24-hour period or $50,000,000 within a 7-day period. The Recipient is
required to provide such notification within 3 business days of the draw amount being surpassed.

2. Establishing and Managing Subawards

2 CFR 200.308 requires the Recipient to obtain prior agency approval for "Subaward activities not
proposed in the application and approved in the Federal award."

EPA will not require additional written approval from the EPA Award Official for a Subaward to a
Subrecipient that is named in the Recipient's EPA-approved Solar for All Workplan.

When the Subrecipient is not named in the EPA-approved Solar for All Workplan, the Recipient agrees to
provide written documentation that must be approved by the EPA Project Officer. The Recipient is
precluded from drawing down funds for Subawards not named in the EPA-approved Solar for All
workplan until the EPA Project Officer provides written confirmation of the documentation. The
documentation must: (a) describe the activities that will be supported by the Subawards; (b) specify the
range of funding to be provided through the Subawards; (c) identify which types of entities (i.e.,
governmental, non-profit, for-profit) will receive the Subawards; and (d) specify how the Subrecipients
are eligible Subrecipients in accordance with EPA's Subaward Policy, and specifically how the
      Case 1:25-cv-00039-JJM-PAS        Document 68-85      Filed 02/07/25    Page 44 of 82 PageID
                                               #: 4861
                                                                             5H - 84091101 - 1   Page 36

Subrecipients will comply with the requirement that the Subrecipient must only receive reimbursement for
their actual direct or approved indirect costs such that they do not “profit” from the transaction.

3. Indirect Cost Rate

The Recipient should note that Subrecipients that receive loans cannot charge an indirect cost rate
against their loans and that entities that receive Participant Supports Costs cannot charge an indirect
cost rate against their Participant Support Cost payments, unless a class exception to this policy is
issued by EPA.

Modified total direct costs (MTDC), as defined in 2 CFR 200.1, means all direct salaries and wages,
applicable fringe benefits, materials and supplies, services, travel, and up to the first $50,000 of each
Subaward (regardless of the period of performance of the Subawards under the award). MTDC excludes
equipment, capital expenditures, charges for patient care, rental costs, tuition remission, scholarships
and fellowships, Participant Support Costs and the portion of each Subaward in excess of $50,000.

Notwithstanding the General Term and Condition “Indirect Cost Rate Agreements,” the Recipient may
claim up to a 15% de minimis rate of modified total direct costs authorized by 2 CFR 200.414(f).

4. Sufficient Progress

The EPA Project Officer may assess whether the Recipient is making sufficient progress in implementing
the EPA-approved Solar for All workplan under this Assistance Agreement within 90 calendar days of
June 30, 2025 as well as within 90 calendar days of June 30 of each year thereafter during the Period of
Performance. “Sufficient progress” shall be assessed based on a comparison of the Recipient's planned
versus actual expenditures as well as planned versus actual outputs/outcomes. This term and condition
“flows down” to Subrecipients, with the Recipient required to assess whether each Subrecipient is
making sufficient progress in implementing the workplan under its Subaward Agreement; the Recipient
may increase the frequency and scope of the review of sufficient progress of Subrecipients, in
accordance with 2 CFR 200.332 Requirements for Pass-Through Entities.

If the EPA Project Officer determines that the Recipient has not made sufficient progress in implementing
its EPA-approved Solar for All workplan, the Recipient, if directed to do so, must implement a corrective
action plan concurred on by the EPA Project Officer and approved by the Award Official or Grants
Management Officer pursuant to 2 CFR 200.208.

EPA will not find that the Recipient has failed to make sufficient progress in implementing its EPA-
approved Solar For All workplan based on shifts between types of Financial Assistance over the Period
of Performance (or other shifts in portfolio allocation, to the extent applicable, such as by region or
market segment, over the Period of Performance). If EPA finds the Recipient has failed to achieve
sufficient progress on deployment of Financial Assistance in general, or is achieving progress at a slower
rate than projected under the EPA-approved Solar for All workplan, the Recipient will have an opportunity
to implement a corrective action plan pursuant to 2 CFR 200.208.

5. Termination

EPA maintains the right to terminate the Assistance Agreement only as specified in 2 CFR 200.339 and
the version of 2 CFR 200.340 effective as of October 1, 2024, when the noncompliance with the terms
and conditions is substantial such that effective performance of the Assistance Agreement is Materially
      Case 1:25-cv-00039-JJM-PAS         Document 68-85       Filed 02/07/25    Page 45 of 82 PageID
                                                #: 4862
                                                                               5H - 84091101 - 1   Page 37

Impaired or there is adequate evidence of Waste, Fraud, or Abuse, or material misrepresentation of
eligibility status, prompting adverse action by EPA per 2 CFR 200.339, through either a partial or full
termination. If EPA partially or fully terminates the Assistance Agreement, EPA must (1) de-obligate
uncommitted funds and re-obligate them to another Eligible Recipient selected under Funding
Opportunity Number 66.959 (Zero Emissions Technologies Grant Program, also known as Solar For All)
to effectuate the objectives of Section 134 of the Clean Air Act, 42 USC § 7434 within 90 days of the de-
obligation and (2) amend the Recipient's Assistance Agreement to reflect the reduced amount, based on
the de-obligation. In accordance with 2 CFR 200.341, EPA will provide the Recipient notice of
termination. If an Eligible Recipient has assumed a legal obligation properly incurred for an allowable
activity entered into by a suspended or terminated Recipient, EPA will re-obligate funds to the Eligible
Recipient to satisfy the legal obligation and accept an amended workplan and budget to that effect.

R. Period of Performance

The Period of Performance under this Award Agreement will end on the date specified in the Notice of
Award. However, the Period of Performance may end prior to the date specified in the Notice of Award if
all required work of the Federal award has been completed, in accordance with 2 CFR 200.344. In
accordance with 2 CFR 200.344(b), the Recipient agrees to liquidate all financial obligations incurred
under the award no later than 120 calendar days after the end date of the Period of Performance. In this
context, to “liquidate all financial obligations” means to pay outstanding bills, such as the payment of staff
salaries accrued during the Period of Performance but for which the due date falls after the end date of
the Period of Performance. To “liquidate all financial obligations” does not mean to liquidate, terminate,
or accelerate outstanding obligations related to the provision of Financial Assistance to Qualified Projects
at the end of the Period of Performance, which would continue to be subject to the Closeout Agreement.

The Recipient should note that the Recipient will not be considered to have met the requirements for
closeout under its award under 2 CFR 200.344 so long as any Subrecipient has not met the
requirements for closeout under its subaward under 2 CFR 200.344.

Notwithstanding the Extension of Project/Budget Period Expiration Date General Term and Condition, in
accordance with 2 CFR 200.308(g)(2), the Recipient is authorized to initiate a one-time extension of the
Period of Performance by up to 12 months without prior EPA approval, provided that the extension
complies with the requirements 2 CFR 200.308(g)(2). In accordance with 2 CFR 200.308(g)(2), the
Recipient must “notify the Federal agency in writing with the supporting justification and a revised period
of performance at least 10 calendar days before the conclusion of the period of performance.”

S. Closeout Agreement

As provided at 2 CFR 200.307(c) and 2 CFR 1500.8(d), after the end of the Period of Performance of the
Assistance Agreement, the Recipient may keep and use Program Income remaining at the end of the
Assistance Agreement and use Post-Closeout Program Income in accordance with this term and
condition. The Closeout Agreement goes into effect for this Assistance Agreement the earlier of 1) the
day after the Assistance Agreement Period of Performance ends, 2) the first date when all required work
of the Federal award has been completed in accordance with 2 CFR 200.344 and the Recipient has met
the requirements for closeout (including but not limited to submitting the final report as specified in the
Performance Reporting Programmatic Term and Condition) or 3) an alternative date that is mutually
agreed by the Recipient and the EPA Grants Management Officer or Award Official.

In accordance with 2 CFR 200.344, EPA will proceed to closeout the Award Agreement and enter the
      Case 1:25-cv-00039-JJM-PAS        Document 68-85      Filed 02/07/25    Page 46 of 82 PageID
                                               #: 4863
                                                                             5H - 84091101 - 1   Page 38

Closeout Period even if the Recipient has not met the requirements for closeout (including but not limited
to submitting the final report as specified in the Performance Reporting Programmatic Term and
Condition). As provided in 2 CFR 200.344: “When the recipient or subrecipient fails to complete the
necessary administrative actions or the required work for an award, the Federal agency or pass-through
entity must proceed with closeout based on the information available.” This Closeout Agreement is
therefore self-executing.

This term and condition is the entire Closeout Agreement between the EPA and the Recipient. If any
provisions of this Closeout Agreement are invalidated by a court of law, the parties shall remain bound to
comply with the provisions of this Closeout Agreement that have not been invalidated. The Closeout
Agreement will be interpreted and, if necessary, enforced under Federal law and regulations. The
Recipient shall comply with the requirements specified below as part of the Closeout Agreement.
Definitions within 2 CFR 200.1, including as supplemented through I. Definitions of this award
agreement, apply identically to how they do under the Period of Performance, unless otherwise noted.

As specified in the Flow-Down Requirements Programmatic Term and Condition, the Closeout
Agreement Programmatic Term and Condition flows down to Subrecipients such that the Recipient must
enter into a corresponding Closeout Agreement with any Subrecipient that has Program Income or
anticipates generating Post-Closeout Program Income at the end of the Subrecipient's Period of
Performance.

1. Allowable Activities

The Recipient shall use Post-Closeout Program Income in accordance with the Allowable and
Unallowable Activities Programmatic Term and Condition, as applicable.

2. Reporting Requirements

After the Closeout Agreement becomes effective, the Recipient shall disclose annual reports publicly, in
lieu of any of the reporting requirements described in the Performance Reporting Programmatic Term
and Condition. The Recipient's public annual reports under the Closeout Agreement must meet the
following broad requirements:

       Progress towards objectives on key performance metrics over the annual reporting period,
       Summary of key activities completed over the annual reporting period, including case studies
       across different types of Financial Assistance and Project-Deployment Technical Assistance
       undertaken to enable Low-Income and Disadvantaged Communities to deploy or benefit from
       zero-emissions technologies,
       Geographic coverage of Financial Assistance and Project-deployment Technical Assistance
       deployed over the annual reporting period,
       Descriptions and examples of actions the program took over the annual reporting period to
       meaningfully involve the communities the program serves in program design and operations,
       Plans for key activities (including anonymized current transaction pipeline) to be completed as
       well as outputs and outcomes to be achieved in the next annual reporting period.

3. Low-Income and Disadvantaged Communities Expenditure Requirements
      Case 1:25-cv-00039-JJM-PAS          Document 68-85       Filed 02/07/25     Page 47 of 82 PageID
                                                 #: 4864
                                                                                 5H - 84091101 - 1   Page 39

The Recipient shall expend 100% of Program Income for the purposes of providing Financial Assistance
and Technical Assistance in and benefiting Low-Income and Disadvantaged Communities to deploy and
benefit from eligible zero emissions technologies and comply with this requirement in accordance with
the Low-Income and Disadvantaged Communities Expenditure Requirements Programmatic Term and
Condition, as applicable.

4. Cash Management Requirements

The Recipient must maintain Post-Closeout Program Income in accordance with the Cash Management
Requirements in the Financial Risk Management Requirements Programmatic Term and Condition, as
applicable. However, the Recipient may submit a Cash Management Policy for review and approval by
the EPA Project Officer, which can authorize the Recipient to deviate from the aforementioned Cash
Management Requirements.

5. Remedies for Non-Compliance

The Recipient agrees to identical remedies for non-compliance that are specified in the Remedies for
Non-Compliance Programmatic Term and Condition, as applicable. During the Closeout Period, the
workplan and budget submitted for the Period of Performance are no longer applicable.

6. Suspension and Debarment

The Recipient agrees to ensure that Post-Closeout Program Income is not transferred to entities that are
currently suspended, debarred, or otherwise declared ineligible under 2 CFR Part 180. The Recipient
can maintain compliance with this requirement through either (1) checking the System for Award
Management (for Subrecipients, Contractors, or Program Beneficiaries) or (2) obtaining eligibility
certifications from counterparties (for Program Beneficiaries). The Recipient may access the System for
Award Management (SAM) exclusion list at https://sam.gov/SAM to determine whether an entity or
individual is presently excluded or disqualified.

7. Non-Discrimination

The Recipient must use Post-Closeout Program Income in compliance with EPA regulations at 40 CFR
Part 7 regarding non-discrimination in EPA-funded programs, as applicable.

Title VI of the Civil Rights Act of 1964, Section 504 of the Rehabilitation Act of 1973, The Age
Discrimination Act of 1975. The Recipient agrees to comply with these laws, prohibiting discrimination in
the provision of services or benefits, on the basis of race, color, national origin, sex, disability or age, in
programs or activities receiving federal financial assistance.

Pursuant to EPA's regulations on “Nondiscrimination in Programs receiving Federal Assistance from the
Environmental Protection Agency” in 40 CFR Part 5 and 40 CFR Part 7, the Recipient agrees, and will
require all Subrecipients to agree, not to discriminate on the basis of race, color, national origin, sex,
disability or age.

Executive Order 11246 Part III of Executive Order No. 11246 (September 24, 1965) as amended
prohibits discrimination in Federally assisted construction activities. As provided in section 301 of the
Executive Order, the Recipient will ensure that Subrecipients include the seven clauses specified in
section 202 of the Order in all construction contracts. Section 302 defines "Construction contract" as “any
      Case 1:25-cv-00039-JJM-PAS         Document 68-85      Filed 02/07/25    Page 48 of 82 PageID
                                                #: 4865
                                                                              5H - 84091101 - 1   Page 40

contract for the construction, rehabilitation, alteration, conversion, extension, or repair of buildings,
highways, or other improvements to Real Property.” Contracts less than $10,000 are exempt from the
requirements of the Order.

8. Record-Keeping
In accordance with 2 CFR 200.334(e), the Recipient shall maintain appropriate records to document
compliance with the requirements of the Closeout Agreement (i.e., records relating to the use of Post-
Closeout Program Income) for a three-year period following the end of the Closeout Agreement, unless
one of the conditions specified in the regulation applies. Note that this requirement applies if and when
the Closeout Agreement is terminated, in accordance with Item 14. Termination of the Closeout
Agreement. EPA may obtain access to these records to verify that Post-Closeout Program Income has
been used in accordance with the terms and conditions of this Closeout Agreement. Records and
documents relating solely to performing the grant agreement prior to closeout may be disposed of in
accordance with 2 CFR 200.334.

Additionally, the Recipient must maintain adequate accounting records for how Post-Closeout Program
Income is managed and spent as well as all other appropriate records and documents related to the
activities conducted using Program Income.

The Recipient agrees to ensure that Subrecipients comply with Federal Funding Accountability and
Transparency Act (FFATA) reporting requirements. The Recipient may use the terms of its Subaward
Agreements or other effective means to meet its responsibilities.

9. Other Federal Requirements

The following other federal requirements apply to the use of Post-Closeout Program Income under the
Closeout Period to the same extent they do under the terms of the Performance Period:

       Davis-Bacon and Related Acts, as specified in the Labor and Equitable Workforce Development
       Requirements Programmatic Term and Condition;
       Build America, Buy America Act, as specified in the Build America, Buy America Act
       Programmatic Term and Condition; and
       National Historic Preservation Act, as specified in the Historic Preservation Programmatic Term
       and Condition.

No other federal requirements apply to the use of Post-Closeout Program Income under the terms of this
Closeout Agreement, other than those specified in this Closeout Agreement.

10. Amendments to the Closeout Agreement

The EPA Award Official or Grants Management Officer and the Recipient must agree to any
modifications to the terms and conditions of this Closeout Agreement. Agreed-upon modifications must
be in writing. Oral or unilateral modifications shall not be effective or binding.

11. Audit Requirements
The Recipient agrees to meet the requirements of 2 CFR Subpart F—Audit Requirements during the
Closeout Period, as activities related to the Federal award referenced in 2 CFR 200.502(a) include
activities during the Closeout Period.
      Case 1:25-cv-00039-JJM-PAS       Document 68-85      Filed 02/07/25    Page 49 of 82 PageID
                                              #: 4866
                                                                            5H - 84091101 - 1   Page 41

Through September 30, 2031, the Recipient agrees to notify the EPA Project Officer within 30 calendar
days of the submission of the Recipient's Single Audit to the Federal Audit Clearinghouse's Internet Data
Entry System. This requirement “flows-down” to each Subrecipient in that the Recipient must also notify
the EPA Project Officer within 30 calendar days of the Subrecipient's Single Audit to the Federal Audit
Clearinghouse's Internet Data Entry System.

12. Termination of the Closeout Agreement

The Closeout Agreement terminates when either of the following situations occur: (1) the Recipient holds
a de minimis amount of Post-Closeout Program Income and does not anticipate generating more than a
de minimis amount of additional Post-Closeout Program Income or (2) the Recipient and the EPA Award
Official or Grants Management Officer mutually agree to terminate the Closeout Agreement, with the
Recipient remitting current and future Post-Closeout Program Income to the federal government.

The ability to terminate the Closeout Agreement flows down to Subrecipients, as a Closeout Agreement
between the Recipient and Subrecipient terminates when either (1) the Subrecipient holds a de minimis
amount of Post-Closeout Program Income and does not anticipate generating more than a de minimis
amount of additional Post-Closeout Program Income or (2) the Subrecipient and the Recipient mutually
agree to terminate the Closeout Agreement, with the Subrecipient remitting current and future Post-
Closeout Program Income to the Recipient.

The de minimis amount must be agreed-upon in writing by the Recipient and the Director of the Office of
the Greenhouse Gas Reduction Fund (or equivalent), prior to the Recipient using the “de minimis” criteria
to terminate the Closeout Agreement.

13. Points of Contact

The points of contact for the Closeout Agreement are the EPA Project Officer (for the EPA) and the
Authorized Representative on the EPA Key Contacts Form most recently submitted to the EPA Project
Officer (for the Recipient). If changes are made to these points of contact, the respective party must
notify the other within 30 calendar days of the planned change.

T. Accounting Principles

The Recipient must account for all award funds in accordance with Generally Accepted Accounting
Principles (GAAP) as in effect in the United States.

The Recipient must segregate and account for the award funds separately from all other program and
business accounts. Additionally, the Recipient must segregate and account for Program Income
separately from all other program and business accounts.

U. Internal Controls

The Recipient must comply with standards for internal controls described at 2 CFR 200.303. The
“Standards for Internal Control in the Federal Government” issued by the Comptroller General of the
United States referenced in § 200.303 are available online at https://www.gao.gov/assets/gao-14-704g.
pdf

V. Audits
      Case 1:25-cv-00039-JJM-PAS         Document 68-85       Filed 02/07/25     Page 50 of 82 PageID
                                                #: 4867
                                                                               5H - 84091101 - 1   Page 42

The Recipient agrees to meet the requirements of 2 CFR Subpart F—Audit Requirements during the
Period of Performance, as described in the Audit Requirements General Term and Condition.

Additionally, in accordance with 2 CFR 200.332 and 2 CFR 200.501(i), the Recipient agrees to disclose
directly to the EPA Project Officer audited financial statements from any for-profit Subrecipient that
expends $1,000,000 or more of EPA funds from the Recipient's grant program in the Subrecipient's fiscal
year. Any for-profit Subrecipient that must disclose such financial statements is required to select an
independent auditor consistent with the criteria set forth in 2 CFR 200.509 and obtain an independent
audit substantially similar in scope and quality to that of the Single Audit (see 2 CFR 200.500 et. seq.).
The Subrecipient must submit the audit to the Recipient within 9 months of the end of the Recipient's
fiscal year or 30 days after receiving the report from an independent auditor, whichever is earlier.

The Recipient agrees to notify the EPA Project Officer within 30 calendar days of the submission of the
Recipient's Single Audit to the Federal Audit Clearinghouse's Internet Data Entry System. This
requirement “flows-down” to each Subrecipient in that the Recipient must also notify the EPA Project
Officer within 30 calendar days of the Subrecipient's Single Audit to the Federal Audit Clearinghouse's
Internet Data Entry System.

W. EPA Project Officer Oversight and Monitoring

Pursuant to 2 CFR 200.206(b) and (c), 2 CFR 200.208(b)(1), and 2 CFR 200.208(c)(3)(4) and (6), EPA
has determined that a specific condition is necessary to ensure that eligible Recipients effectively carry
out the significant scale, complexity, and novelty of the Solar for All program. This specific condition will
remain in effect throughout the period of performance unless the EPA Award Official determines, based
on a request by the Recipient or EPA Project Officer, that some or all of the specific conditions are no
longer necessary for EPA to manage programmatic or financial risks.

The EPA Project Officer, or other EPA staff designated by the EPA Project Officer or the Division
Director of the Solar for All program, will oversee and monitor the grant agreement through activities, if
determined necessary, including:

       1. Upon request, requiring the Recipient to participate in an annual workshop (i.e., one workshop
       per calendar year) with other Recipients under the Solar for All program; the EPA Project Officer
       will contact the Recipient to finalize details for each annual workshop.

       2. Participating in project activities, to the extent permissible under EPA policies, such as:
       consultation on effective methods of carrying out the EPA-approved Solar for All Workplan,
       provided the Recipient makes the final decision on how to perform authorized activities;
       coordination by EPA staff with other Recipients under the Greenhouse Gas Reduction Fund and
       with other EPA programs, and other federal programs to avoid duplication of effort;

       3. Reviewing the qualifications of key personnel, including senior management and board-level
       committee members or contractors employed by Recipients. Note that EPA does not have the
       authority to select employees or contractors, including consultants, employed by the Recipient;

       4. Closely monitoring the Recipient's management and oversight of Subrecipients and
       procedures for ensuring that program beneficiaries adhere to program participation guidelines;

       5. Closely monitoring the Recipient's performance to verify compliance with the EPA-approved
      Case 1:25-cv-00039-JJM-PAS        Document 68-85      Filed 02/07/25    Page 51 of 82 PageID
                                               #: 4868
                                                                             5H - 84091101 - 1   Page 43

       Solar for All Workplan and achievement of environmental results;

       6. Participating in periodic telephone conference calls with Recipient personnel to discuss project
       successes and challenges, and similar items impacting Recipient performance;

       7. Reviewing and commenting on performance reports prepared under the Award Agreement.
       Note that the final decision on the content of performance reports rests with the Recipient;

       8. Verifying that the Recipient is expending the award on allowable activities, including but not
       limited to asking for information on draws from ASAP or reviewing a sample of Financial
       Assistance transactions to verify compliance with regulatory requirements and the terms and
       conditions of this award;

       9. Periodically reviewing costs incurred by the Recipient as well as its contractors and
       Subrecipients if needed to ensure appropriate expenditure of grant funds. Note that Recipients
       are not required to submit documentation of costs incurred before obtaining payments of grant
       funds;

       10. Working with other EPA officials, including but not necessarily limited to the EPA QAM, to
       review and approve QAPPs and related documents or verifying that appropriate Quality
       Assurance requirements have been met where quality assurance activities are being conducted
       pursuant to an EPA-approved QMP; and

       11. Monitoring the use of Program Income after the Period of Performance ends, in accordance
       with the terms of the Closeout Agreement.

Method for Reconsideration. If the Recipient believes that this specific condition is not warranted or
requires modification, the Recipient must file a written objection within 21 calendar days of the EPA
award or amendment mailing date and must not draw down funds until the objection is resolved. The
Recipient must submit the written objection via email to the Award Official, Grant Specialist and Project
Officer identified in the Notice of Award.

Subject to approval by the EPA Award Official, the EPA Project Officer and the Recipient may mutually
agree to additional areas of oversight and monitoring.

X. Compliant URL Links

The EPA may elect to develop informational materials to publicize the key characteristics of the
Recipient's Solar for All award. These materials may include links to Recipient and/or Subrecipients'
websites. The Recipient agrees to work with the EPA Project Officer or another member of Solar for All
program staff to ensure any such links are compliant with pertinent EPA and government-wide
standards.

Y. Flow-Down Requirements

As described in 2 CFR 200.101(b)(1), the terms and conditions of Federal awards flow down to
Subawards unless a particular section of 2 CFR 200.101 or the terms and conditions of the Federal
award specifically indicate otherwise. As required by 2 CFR 200.332(b), the Recipient agrees to ensure
that Subrecipients are aware of the requirements that apply to the Subrecipient.
      Case 1:25-cv-00039-JJM-PAS          Document 68-85       Filed 02/07/25    Page 52 of 82 PageID
                                                 #: 4869
                                                                                5H - 84091101 - 1   Page 44

For the purposes of this Award Agreement, all terms and conditions must flow down to Subawards to the
extent they are applicable. The EPA Project Officer is authorized to waive the applicability of
programmatic terms and conditions to Subawards, unless the term and condition implements statutory,
regulatory, or executive order requirements.

Z. Financial Assistance in the Form of Credit Enhancements

If the Recipient's EPA-approved Solar for All Workplan includes providing Financial Assistance in the
form of credit enhancements such as loan loss reserves or loan guarantees, the Recipient is authorized
to draw down funds as cash reserves. “Cash reserves” means cash that is drawn down and
subsequently held in order to support the Recipient's deployment of Financial Assistance in the form of
credit enhancements. Cash reserves involve the drawdown and disbursement of grant funds into an
escrow account meeting the following standards: (1) the Recipient does not retain possession of the
grant funds; (2) the Recipient cannot get the funds back from the escrow account upon demand; (3) the
entity providing the escrow account is independent from the Recipient; (4) the Recipient is able to use
the funds in the escrow account to support eligible uses of cash reserves, as defined here; and (5) the
escrow account is with an “insured depository institution,” as defined in 12 USC 1813. The Recipient is
not authorized to use an escrow account until the substantive terms of the escrow account have been
reviewed and approved by the EPA Project Officer.

The Recipient agrees to provide written documentation for all Financial Assistance in the form of credit
enhancements that must be approved by the EPA Project Officer prior to the Recipient implementing its
strategy, unless already described in the EPA-approved Solar for All workplan. This documentation must
describe how the expenditure enables Low-Income and Disadvantaged Communities to deploy and
benefit from eligible zero-emissions technologies.

Any obligations that the Recipient incurs in excess of the grant award funds allocated and expended to
execute its credit enhancement strategy are the Recipient's responsibility. This limitation on the extent of
the Federal Government's financial commitment to the Recipient's credit enhancement strategy shall be
communicated to all participating banks, borrowers, Subrecipients, or Program Beneficiaries prior to the
execution of any documentation governing such transactions with any such parties.

AA. Additional Requirements for Eligible Nonprofit Recipients

The following terms and conditions apply if the Recipient is an Eligible Nonprofit Recipient as defined in
the Eligible Recipient definition:

1. Incorporation and Control

The Recipient agrees to maintain its incorporation in the United States and to maintain its status as not
being controlled by one or several entities that are not eligible Recipients. Control is defined by either (i)
control in any manner over the election of a majority of the directors, trustees, or general partners (or
individuals exercising similar functions) or (ii) the power to exercise, directly or indirectly, a controlling
influence over management policies or investment decisions.

2. Governance Requirements

A. Board Size and Composition
      Case 1:25-cv-00039-JJM-PAS         Document 68-85      Filed 02/07/25    Page 53 of 82 PageID
                                                #: 4870
                                                                              5H - 84091101 - 1   Page 45

The Recipient agrees to ensure that its board size in terms of number of members (excluding advisory
committees) is commensurate with the scope of oversight and monitoring activities as well as the scale,
complexity, and risk profile of the Recipient's EPA-approved Solar for All Workplan as well as other
business activities. The board must have a sufficient number of members to adequately staff each of its
committees.

The Recipient agrees to ensure that its board consists of members that are qualified with relevant
expertise, skills, and track record as well as representative members (including from Low-Income and
Disadvantaged Communities).

B. Board Independence

The Recipient agrees to ensure that the majority of the board is independent, in accordance with the
Internal Revenue Service's definition of “independent” for the purposes of Form 990 reporting.

C. Board Policies and Procedures

The Recipient agrees to enforce board policies and procedures including, among others, those that
ensure strong ethics and mitigate conflicts of interest; ensure appropriate board training to review and
assess internal risk assessments for all of the organization's significant activities; and ensure regular
board engagement, including frequency of meetings and attendance procedures.

The Recipient agrees to require recusals from any officers or members of the board of directors with a
personal or organizational conflict of interest in the decision-making and management related to financial
transactions under this award. Such recusals must include but not be limited to decision-making and
management of Subawards and Participant Support Cost payments to or from any organization in which
an officer or member of the board of directors or their immediate family is directly employed by or has a
consulting or other contractual relationship with, serves on the board, or is otherwise affiliated with the
organization. The term “immediate family” has the same meaning as that term in the EPA's Final
Financial Assistance Conflict of Interest Policy.

3. Legal Counsel

The Recipient agrees to appoint or consult appropriate legal counsel if counsel is not already available.

AB. Amendments to Award Agreement

The EPA Award Official or Grants Management Officer and the Recipient must agree to any
modifications to the terms and conditions of this Award Agreement. Agreed-upon modifications must be
in writing. Oral or unilateral modifications shall not be effective or binding.

AC. Preservation of Guidance and Data

Any statutes, regulations, agency documents, policies, and guidance (including FAQs and EPA's
Implementation Framework for the Greenhouse Gas Reduction Fund), or executive orders referenced
herein are incorporated by reference into the Award Agreement as of the effective date of this amended
Award Agreement. These incorporated documents will be controlling on Recipient and Subrecipients in
the event such documents are deleted, repealed, rescinded, or replaced unless a statute provides
otherwise. This includes, but is not limited to, the Uniform Administrative Requirements, Cost Principles
     Case 1:25-cv-00039-JJM-PAS        Document 68-85     Filed 02/07/25    Page 54 of 82 PageID
                                              #: 4871
                                                                           5H - 84091101 - 1   Page 46

and Audit Requirements for Federal Awards; Title 2 CFR Part 200 effective October 1, 2024, and the
EPA General Terms and Conditions effective October 1, 2024.

This provision cannot be changed without the consent of the Recipient.
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 55 of 82 PageID
                                    #: 4872



                             Oomen Exhibit B
Case 1:25-cv-00039-JJM-PAS               Document 68-85   Filed 02/07/25     Page 56 of 82 PageID
                                                #: 4873

   From:           EPA Grants Info
   Subject:        [EXTERNAL] Pause EPA Grants
   Date:           Tuesday, January 28, 2025 4:49:44 PM



   Dear Grant Recipient,

   EPA is working diligently to implement President Trump’s Unleashing American Energy
   Executive Order issued on January 20 in coordination with the Office of Management and
   Budget. The agency has paused all funding actions related to the Inflation Reduction Act and
   the Infrastructure Investment and Jobs Act at this time. EPA is continuing to work with OMB as
   they review processes, policies, and programs, as required by the Executive Order.

   Thank you.

   Please do not reply to this message. This mailbox is not monitored.
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 57 of 82 PageID
                                    #: 4874



                             Oomen Exhibit C
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 58 of 82 PageID
                                    #: 4875
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 59 of 82 PageID
                                    #: 4876



                             Oomen Exhibit D
Case 1:25-cv-00039-JJM-PAS                  Document 68-85                  Filed 02/07/25   Page 60 of 82 PageID
                                                   #: 4877

   From:             EPA Grants Info
   Subject:          [EXTERNAL] Notice of Court"s Order
   Date:             Monday, February 3, 2025 8:38:02 AM
   Attachments:      Notice of Temporary Restraining Order 01-31-2025.pdf



   Dear Grant Recipient,

   Pursuant to the Court’s directive in New York et al. v. Trump, No. 25-cv-39-JJM-PAS (D.R.I.),
   ECF No. 50 (Jan. 31, 2025) all EPA assistance agreement recipients are receiving the attached
   Notice of the Court’s Order for awareness and information. A copy of the Court’s Order is also
   attached for reference. If you have any questions about the scope or effect of the Court’s
   Order, please contact your Grants Award Official.

   Thank you.

   Please do not reply to this message. This mailbox is not monitored.


   Phillip Schindel
   Acting Director
   US EPA Grants Management & Business Operations Division
   202-564-5293
   Schindel.Phillip@epa.gov
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 61 of 82 PageID
                                    #: 4878



                             Oomen Exhibit E
       Case 1:25-cv-00039-JJM-PAS          Document   68-85
                                           SENSITIVE BUT      Filed 02/07/25
                                                         UNCLASSIFIED              Page 62 of 82 PageID
                                                    #: 4879


                                                                                                  Date: 02/05/2025
                                           Account Profile Inquiry                                   Time: 8:19 AM



ALC/Region:                           Agency Short Name:                    Account ID:
68128933                              RTP-Grants
Recipient ID:                         Recipient Short Name:
                                      NJ Treas

Inquiry Results:

 ACCOUNT DETAILS                                           GRANT DETAILS
          Requestor ID :                                                    Grant : Yes
            Account ID :                                           Federal Award
                                                           Identification Number
   Account Description : THE STATE OF NEW JERSEY -- GGR                    (FAIN) : 5H84091101
    1031/LOC Account : No                                           CFDA Number : 66959.000
          Account Type : Regular Account                   Total Estimated Grant
              Group ID :                                                  Amount : $0.00
       Control Account : No
        Account Status                                     AGENCY PAYMENT REVIEW
              Indicator : Suspended                              Agency Review : No
     Available Balance : $155,720,000.00                      Threshold Amount :
           Create Date : 09/30/2024                           Reason for Review :
            Begin Date : 09/01/2024
   Performance Period                                      DRAW AMOUNTS
              End Date : 08/31/2029                            Max Total Draw Amount :
              End Date : 12/31/2029                            Max Daily Draw Amount :
       TAS Distribution                                      Max Monthly Draw Amount :
               Method : Percentage by Account               Max Quarterly Draw Amount :
      Allow Book Entry
           Adjustment : Yes
                                                           AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused
             Payments : Yes                                  Authorized Renewal
                                                                          Amount : $0.00
        CMIA Indicator : No
                                                                    Certified Date :
 CUMULATIVE AUTHORIZATIONS                                    Renewal Frequency :
            Cumulative                                          Pending Renewal
    Authorized Amount : $155,720,000.00                                Frequency :
            Cumulative                                       Pending Automated
    Authorized Amount                                           Renewal Amount : $0.00
          Reset Period :                                   Rollover Reset Quarter :
   Annual Reset Month :                                            Default Action :




                                                     1 of 1

                                           SENSITIVE BUT UNCLASSIFIED
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 63 of 82 PageID
                                    #: 4880



                             Oomen Exhibit F
             Case 1:25-cv-00039-JJM-PAS                        Document 68-85                  Filed 02/07/25          Page 64 of 82 PageID
                                                                      #:NSO
                                                                         4881
                                                                 ASSISTANCE AGREEMENT

1. Award No.                                                 2. Modification No.          3. Effective Date           4. CFDA No.
DE-SE0000051                                                                              01/01/2025                  81.041
5. Awarded To                                                           6. Sponsoring Office                                              7. Period of Performance
NEW JERSEY DEPARTMENT OF TREASURY                                       State and Community Energy Programs
                                                                                                                                          01/01/2025
Attn: Curtis Elvin                                                      U.S. Department of Energy                                         through
44 S CLINTON AVE                                                                                                                          12/31/2029
                                                                        1000 Independence Ave, SW
STE 701
                                                                        washington DC 20585
TRENTON NJ 086091241



8. Type of Agreement               9. Authority                                                           10. Purchase Request or Funding Document No.
 X Grant                           117-169 IRA 2022                                                       25SE000253
     Cooperative Agreement         109-58 Energy Policy Act 2005
     Other

11. Remittance Address                                                   12. Total Amount                               13. Funds Obligated
NEW JERSEY DEPARTMENT OF TREASURY                                         Govt. Share: $91,654,709.00                   This action:
Attn: Curtis Elvin                                                                                                      $91,654,709.00
33 WEST STATE ST                                                          Cost Share : $0.00                            Total      :
TRENTON NJ 086250459                                                                                                    $91,654,709.00
                                                                          Total             : $91,654,709.00



14. Principal Investigator                        15. Program Manager                                   16. Administrator
                                                   NICOLE COENE                                         Golden Field Office
                                                   Phone: 240-306-7182                                  U.S. Department of Energy
                                                                                                        Golden Field Office
                                                                                                        15013 Denver West Parkway
                                                                                                        Golden CO 80401


17. Submit Payment Requests To                                18. Paying Office                                                19. Submit Reports To
Payment - Direct Payment                                      Payment - Direct Payment                                         See Attachment 2
from U.S. Dept of Treasury                                    from U.S. Dept of Treasury




20. Accounting and Appropriation Data



21. Research Title and/or Description of Project
IRA SECTION 50121 – HOME ENERGY EFFICIENCY REBATE PROGRAM


                              For the Recipient                                                           For the United States of America
22. Signature of Person Authorized to Sign                                        25. Signature of Grants/Agreements Officer



23. Name and Title                                        24. Date Signed      26. Name of Officer                                            27. Date Signed
                                                                                    Stephanie D. Sites                                        01/08/2025



                                                                               NSO
           Case 1:25-cv-00039-JJM-PAS                Document 68-85         Filed 02/07/25      Page 65 of 82 PageID
                                                            #:NSO
                                                               4882
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                   PAGE      OF
CONTINUATION SHEET              DE-SE0000051                                                                2              3
NAME OF OFFEROR OR CONTRACTOR
NEW JERSEY DEPARTMENT OF TREASURY
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE        AMOUNT
   (A)                                  (B)                                 (C)     (D)       (E)               (F)
           UEI: K3SGJLGNHEZ4
           The purpose of this action is to obligate IRA
           SCEP funds and to authorize activities under
           Section 50121.

           The current Project Period for this award is
           01/01/2025 through 12/31/2029.

           In Block 7 of the Assistance Agreement, the
           Period of Performance reflects the beginning of
           the Project Period through the end of the current
           Budget Period.

           In addition to this Assistance Agreement, this
           award consists of the items listed on the Cover
           Page of the Special Terms and Conditions.

           Recipient acknowledges the activities approved by
           this award are listed in the NEPA determination,
           Attachment 5 of this Award. If new activities, or
           activities that do not fit within the
           restrictions listed in the NEPA determination are
           proposed, additional NEPA review and Contracting
           Officer approval are required. Contact your DOE
           Project Officer, as shown below.

           This award is subject to the Financial Assistance
           regulations contained in 2 CFR 200 as amended by
           2 CFR Part 910.

           Additional future DOE funding and additional
           budget periods are not contemplated under this
           award. Funding for all awards and future budget
           periods is contingent upon the availability of
           funds appropriated by Congress for the purpose of
           this program and the availability of future-year
           budget authority.

           DOE Award Administrator: Sara Evans
           Email: sara.evans@ee.doe.gov
           Phone: 240-562-1542

           DOE Project Officer: Nicole Coene
           Email: nicole.coene@hq.doe.gov
           Phone: N/A

           Recipient Business Officer: Matthew Mauro
           Email: matthew.mauro@bpu.nj.gov
           Phone: 609-913-6346

           Recipient Principal Investigator: Dustin Wang
           Continued ...

                                                                NSO
           Case 1:25-cv-00039-JJM-PAS                Document 68-85         Filed 02/07/25      Page 66 of 82 PageID
                                                            #:NSO
                                                               4883
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                   PAGE      OF
CONTINUATION SHEET              DE-SE0000051                                                                3              3
NAME OF OFFEROR OR CONTRACTOR
NEW JERSEY DEPARTMENT OF TREASURY
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE        AMOUNT
   (A)                            (B)                                       (C)     (D)       (E)               (F)
           Email: dustin.wang@bpu.nj.gov
           Phone: 609-913-6330

           Electronic signature or signatures as used in
           this document means a method of signing an
           electronic message that—
           (A)Identifies and authenticates a particular
           person as the source of the electronic message;
           (B)Indicates such person's approval of the
           information contained in the electronic message;
           and,
           (C)Submission via FedConnect constitutes
           electronically signed documents.
           ASAP: YES Extent Competed: NOT COMPETED
           Davis-Bacon Act: NO PI: Wang, Dustin
           Fund: 05478 Appr Year: 2022 Allottee: 31 Report
           Entity: 200835 Object Class: 41020 Program:
           1800007 Project: 0000000 WFO: 0000000 Local Use:
           0000000




                                                                NSO
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 67 of 82 PageID
                                    #:NSO
                                       4884
                                                                                      JULY 2004




                                     NSO
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 68 of 82 PageID
                                    #: 4885
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 69 of 82 PageID
                                    #: 4886



                             Oomen Exhibit G
             Case 1:25-cv-00039-JJM-PAS                        Document 68-85                  Filed 02/07/25          Page 70 of 82 PageID
                                                                      #:NSO
                                                                         4887
                                                                 ASSISTANCE AGREEMENT

1. Award No.                                                 2. Modification No.          3. Effective Date           4. CFDA No.
DE-SE0000107                                                                              01/01/2025                  81.041
5. Awarded To                                                           6. Sponsoring Office                                              7. Period of Performance
NEW JERSEY DEPARTMENT OF TREASURY                                       State and Community Energy Programs
                                                                                                                                          01/01/2025
Attn: Curtis Elvin                                                      U.S. Department of Energy                                         through
44 S CLINTON AVE                                                                                                                          12/31/2029
                                                                        1000 Independence Ave, SW
STE 701
                                                                        washington DC 20585
TRENTON NJ 086091241



8. Type of Agreement               9. Authority                                                           10. Purchase Request or Funding Document No.
 X Grant                           117-169 IRA 2022                                                       25SE000254
     Cooperative Agreement         109-58 Energy Policy Act 2005
     Other

11. Remittance Address                                                   12. Total Amount                               13. Funds Obligated
NEW JERSEY DEPARTMENT OF TREASURY                                         Govt. Share: $91,307,380.00                   This action:
Attn: Curtis Elvin                                                                                                      $91,307,380.00
33 WEST STATE ST                                                          Cost Share : $0.00                            Total      :
TRENTON NJ 086250459                                                                                                    $91,307,380.00
                                                                          Total             : $91,307,380.00



14. Principal Investigator                        15. Program Manager                                   16. Administrator
                                                   NICOLE COENE                                         Golden Field Office
                                                   Phone: 240-306-7182                                  U.S. Department of Energy
                                                                                                        Golden Field Office
                                                                                                        15013 Denver West Parkway
                                                                                                        Golden CO 80401


17. Submit Payment Requests To                                18. Paying Office                                                19. Submit Reports To
Payment - Direct Payment                                      Payment - Direct Payment                                         See Attachment 2
from U.S. Dept of Treasury                                    from U.S. Dept of Treasury




20. Accounting and Appropriation Data



21. Research Title and/or Description of Project
IRA SECTION 50122 – HOME ENERGY EFFICIENCY REBATE PROGRAM


                              For the Recipient                                                           For the United States of America
22. Signature of Person Authorized to Sign                                        25. Signature of Grants/Agreements Officer



23. Name and Title                                        24. Date Signed      26. Name of Officer                                            27. Date Signed
                                                                                    Stephanie D. Sites                                        01/08/2025



                                                                               NSO
           Case 1:25-cv-00039-JJM-PAS                Document 68-85         Filed 02/07/25      Page 71 of 82 PageID
                                                            #:NSO
                                                               4888
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                   PAGE      OF
CONTINUATION SHEET              DE-SE0000107                                                                2              3
NAME OF OFFEROR OR CONTRACTOR
NEW JERSEY DEPARTMENT OF TREASURY
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE        AMOUNT
   (A)                                  (B)                                 (C)     (D)       (E)               (F)
           UEI: K3SGJLGNHEZ4
           The purpose of this action is to obligate IRA
           SCEP funds and to authorize activities under
           Section 50122.

           The current Project Period for this award is
           01/01/2025 through 12/31/2029.

           In Block 7 of the Assistance Agreement, the
           Period of Performance reflects the beginning of
           the Project Period through the end of the current
           Budget Period.

           In addition to this Assistance Agreement, this
           award consists of the items listed on the Cover
           Page of the Special Terms and Conditions.

           Recipient acknowledges the activities approved by
           this award are listed in the NEPA determination,
           Attachment 5 of this Award. If new activities, or
           activities that do not fit within the
           restrictions listed in the NEPA determination are
           proposed, additional NEPA review and Contracting
           Officer approval are required. Contact your DOE
           Project Officer, as shown below.

           This award is subject to the Financial Assistance
           regulations contained in 2 CFR 200 as amended by
           2 CFR Part 910.

           Additional future DOE funding and additional
           budget periods are not contemplated under this
           award. Funding for all awards and future budget
           periods is contingent upon the availability of
           funds appropriated by Congress for the purpose of
           this program and the availability of future-year
           budget authority.

           DOE Award Administrator: Sara Evans
           Email: sara.evans@ee.doe.gov
           Phone: 240-562-1542

           DOE Project Officer: Nicole Coene
           Email: nicole.coene@hq.doe.gov
           Phone: N/A

           Recipient Business Officer: Matthew Mauro
           Email: matthew.mauro@bpu.nj.gov
           Phone: 609-913-6346

           Recipient Principal Investigator: Dustin Wang
           Continued ...

                                                                NSO
           Case 1:25-cv-00039-JJM-PAS                Document 68-85         Filed 02/07/25      Page 72 of 82 PageID
                                                            #:NSO
                                                               4889
                                REFERENCE NO. OF DOCUMENT BEING CONTINUED                                   PAGE      OF
CONTINUATION SHEET              DE-SE0000107                                                                3              3
NAME OF OFFEROR OR CONTRACTOR
NEW JERSEY DEPARTMENT OF TREASURY
ITEM NO.                         SUPPLIES/SERVICES                      QUANTITY   UNIT   UNIT PRICE        AMOUNT
   (A)                            (B)                                       (C)     (D)       (E)               (F)
           Email: dustin.wang@bpu.nj.gov
           Phone: 609-913-6330

           Electronic signature or signatures as used in
           this document means a method of signing an
           electronic message that—
           (A)Identifies and authenticates a particular
           person as the source of the electronic message;
           (B)Indicates such person's approval of the
           information contained in the electronic message;
           and,
           (C)Submission via FedConnect constitutes
           electronically signed documents.
           ASAP: YES Extent Competed: NOT COMPETED
           Davis-Bacon Act: NO PI: Wang, Dustin
           Fund: 05479 Appr Year: 2022 Allottee: 31 Report
           Entity: 200835 Object Class: 41020 Program:
           1800008 Project: 0000000 WFO: 0000000 Local Use:
           0000000




                                                                NSO
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 73 of 82 PageID
                                    #:NSO
                                       4890
                                                                                      JULY 2004




                                     NSO
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 74 of 82 PageID
                                    #: 4891
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 75 of 82 PageID
                                    #: 4892



                             Oomen Exhibit H
Case 1:25-cv-00039-JJM-PAS            Document 68-85         Filed 02/07/25      Page 76 of 82 PageID
                                             #: 4893



                                     Department of Energy
                                         Golden Field Office
                                     15013 Denver West Parkway
                                          Golden CO 80401


                                            January 27, 2025

  MEMORANDUM FOR ALL DOE FUNDING AGREEMENTS OR AWARDS

  FROM:          SARA WILSON
                 ACQUISITION DIRECTOR
                 ACTING HEAD OF CONTRACTING ACTIVITY
                 ENERGY EFFICIENCY & RENEWABLE ENERGY

  SUBJECT:       Cease all activities associated with DEI and CBP

  The President has issued 43 Executive Orders, Presidential Memoranda, and Proclamations,
  including an Executive Order entitled Ending Radical and Wasteful Government DEI Programs
  and Preferencing. DOE is moving aggressively to implement this Executive Order by directing
  the suspension of the following activities in any loans, loan guarantees, grants, cost sharing
  agreements, contracts, contract awards, or any other source of DOE funding:

          ● diversity, equity, and inclusion (DEI) programs and activities involving or relating to
            DEI objectives and principles; and
          ● Community Benefits Plans (CBP); and
          ● Justice40 requirements, conditions, or principles.

  Recipients and subrecipients must cease any activities, including contracted activities, and stop
  incurring costs associated with DEI and CBP activities effective as of the date of this letter for all
  DOE grants, cooperative agreements, loans, loan guarantees, cost sharing agreements, or other
  DOE funding of any kind. Recipients are responsible for communicating and enforcing this
  direction with all subrecipients and contractors. Costs incurred after the date of this letter will
  not be reimbursed. This letter will be incorporated into your award with the next modification.

  Additional guidance will be forthcoming. Recipients who have DEI and CBP activities in their
  awards will be contacted by their Grants Officer to initiate award modifications consistent with
  this Order.
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 77 of 82 PageID
                                    #: 4894



                             Oomen Exhibit I
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 78 of 82 PageID
                                    #: 4895
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 79 of 82 PageID
                                    #: 4896
Case 1:25-cv-00039-JJM-PAS   Document 68-85   Filed 02/07/25   Page 80 of 82 PageID
                                    #: 4897



                             Oomen Exhibit J
       Case 1:25-cv-00039-JJM-PAS          Document   68-85
                                           SENSITIVE BUT      Filed 02/07/25
                                                         UNCLASSIFIED              Page 81 of 82 PageID
                                                    #: 4898


                                                                                                  Date: 02/05/2025
                                           Account Profile Inquiry                                   Time: 8:22 AM



ALC/Region:                           Agency Short Name:                    Account ID:
89000001/04                           DOEGOLDEN
Recipient ID:                         Recipient Short Name:
                                      NJ Treas

Inquiry Results:

 ACCOUNT DETAILS                                           GRANT DETAILS
          Requestor ID :                                                    Grant : No
            Account ID :                                           Federal Award
                                                           Identification Number
   Account Description : GRANT                                             (FAIN) :
    1031/LOC Account : No                                           CFDA Number :
          Account Type : Regular Account                   Total Estimated Grant
              Group ID :                                                  Amount : $0.00
       Control Account : No
        Account Status                                     AGENCY PAYMENT REVIEW
              Indicator : Open                                   Agency Review : Yes
     Available Balance : $91,307,380.00                       Threshold Amount : $1.00
           Create Date : 10/30/2023                           Reason for Review : APPROVAL REQUIRED
            Begin Date : 10/30/2023
   Performance Period                                      DRAW AMOUNTS
              End Date :                                       Max Total Draw Amount :
              End Date :                                       Max Daily Draw Amount :
       TAS Distribution                                      Max Monthly Draw Amount :
               Method : Percentage by Account               Max Quarterly Draw Amount :
      Allow Book Entry
           Adjustment : Yes
                                                           AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused
             Payments : Yes                                  Authorized Renewal
                                                                          Amount : $0.00
        CMIA Indicator : No
                                                                    Certified Date :
 CUMULATIVE AUTHORIZATIONS                                    Renewal Frequency :
            Cumulative                                          Pending Renewal
    Authorized Amount : $91,307,380.00                                 Frequency :
            Cumulative                                       Pending Automated
    Authorized Amount                                           Renewal Amount : $0.00
          Reset Period :                                   Rollover Reset Quarter :
   Annual Reset Month :                                            Default Action :




                                                    1 of 1

                                           SENSITIVE BUT UNCLASSIFIED
       Case 1:25-cv-00039-JJM-PAS          Document   68-85
                                           SENSITIVE BUT      Filed 02/07/25
                                                         UNCLASSIFIED              Page 82 of 82 PageID
                                                    #: 4899


                                                                                                  Date: 02/05/2025
                                           Account Profile Inquiry                                   Time: 8:21 AM



ALC/Region:                           Agency Short Name:                    Account ID:
89000001/04                           DOEGOLDEN
Recipient ID:                         Recipient Short Name:
                                      NJ Treas

Inquiry Results:

 ACCOUNT DETAILS                                           GRANT DETAILS
          Requestor ID :                                                    Grant : No
            Account ID :                                           Federal Award
                                                           Identification Number
   Account Description : GRANT                                             (FAIN) :
    1031/LOC Account : No                                           CFDA Number :
          Account Type : Regular Account                   Total Estimated Grant
              Group ID :                                                  Amount : $0.00
       Control Account : No
        Account Status                                     AGENCY PAYMENT REVIEW
              Indicator : Open                                   Agency Review : Yes
     Available Balance : $91,654,709.00                       Threshold Amount : $1.00
           Create Date : 10/30/2023                           Reason for Review : APPROVAL REQUIRED
            Begin Date : 10/30/2023
   Performance Period                                      DRAW AMOUNTS
              End Date :                                       Max Total Draw Amount :
              End Date :                                       Max Daily Draw Amount :
       TAS Distribution                                      Max Monthly Draw Amount :
               Method : Percentage by Account               Max Quarterly Draw Amount :
      Allow Book Entry
           Adjustment : Yes
                                                           AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused
             Payments : Yes                                  Authorized Renewal
                                                                          Amount : $0.00
        CMIA Indicator : No
                                                                    Certified Date :
 CUMULATIVE AUTHORIZATIONS                                    Renewal Frequency :
            Cumulative                                          Pending Renewal
    Authorized Amount : $91,654,709.00                                 Frequency :
            Cumulative                                       Pending Automated
    Authorized Amount                                           Renewal Amount : $0.00
          Reset Period :                                   Rollover Reset Quarter :
   Annual Reset Month :                                            Default Action :




                                                    1 of 1

                                           SENSITIVE BUT UNCLASSIFIED
